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     White Plains, NY 10601-2310
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     Lead Counsel for the New York City Pension Funds and the Class
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     WILLEM F. JONCKHEER S.B.N. 178748
 7   DUSTIN L. SCHUBERT S.B.N. 254876
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 9   Telephone: 415-788-4220              ER




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10                                                                      D IS T IC T O
                                                                              R
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11
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12   Corporation Counsel of the City of New York
     Carolyn Wolpert
13   100 Church Street
     New York, NY 10007
14   Telephone: 212-788-0748
15   Attorneys for the New York City Pension Funds
16
                                       UNITED STATES DISTRICT COURT
17                                    NORTHERN DISTRICT OF CALIFORNIA
18                                           SAN JOSE DIVISION

19                                                                  No. C06-04327-JW (PVT)
     IN RE JUNIPER NETWORKS, INC.
20   SECURITIES LITIGATION                                          [PROPOSED] ORDER
                                                                    PRELIMINARILY APPROVING
21                                                                  SETTLEMENT AND PROVIDING
                                                                    FOR NOTICE
22   THE NEW YORK CITY EMPLOYEES’
     RETIREMENT SYSTEM, et al.,                                     No. C08-0246-JW (PVT)
23
                                        Lead Plaintiff,
24
                                 v.
25
     LISA C. BERRY,
26
                                        Defendant.
27

28
     [PROPOSED] ORDER PRELIMINARILY APPROVING SETTLEMENT AND PROVIDING FOR NOTICE

     {1964 / ORD / 00100748.DOC V3}
 1            WHEREAS, two unconsolidated class actions are currently pending before the court
 2   entitled In re Juniper Networks, Inc. Securities Litigation, Case No. C 06-04327 (the “Juniper
 3   Action”), and New York City Employees’ Retirement System, et al., v. Lisa C. Berry, Case No.
 4   C 08-0426 (the “Berry Action”) (collectively the “Actions”).
 5            WHEREAS, the Court has received the Stipulation of Settlement dated as of March 15,
 6   2010 (the “Stipulation”) that was entered into by the Lead Plaintiff and Defendants in the
 7   Actions, and the Court has reviewed the Stipulation and its attached Exhibits; and
 8            WHEREAS, the parties having made application, pursuant to Federal Rule of Civil
 9   Procedure 23(e), for an order preliminarily approving the partial settlement of these Actions (the
10   “Settlement”), in accordance with the Stipulation which, together with the Exhibits annexed
11   thereto, sets forth the terms and conditions for a proposed settlement of the Actions and for
12   dismissal with prejudice of the Juniper Action against the Defendants and the Berry Action
13   against Berry upon the terms and conditions set forth therein; and the Court having read and
14   considered the Stipulation and the Exhibits annexed thereto; and
15            WHEREAS, all capitalized terms contained herein shall have the same meanings as set
16   forth in the Stipulation;
17            NOW, upon consent of the Parties, after review and consideration of the Stipulation filed
18   with the Court and the Exhibits annexed thereto, and after due deliberation, IT IS HEREBY
19   ORDERED:
20            1.      The Berry Action is certified for purposes of the Settlement only as a class action
21   pursuant to Rules 23(a) and 23(b)(3), Fed. R. Civ. P., on behalf of the following class:
22
                        All persons and entities who purchased or otherwise acquired the
23                      publicly traded securities of Juniper Networks, Inc. from July 11,
                        2003 through August 10, 2006, inclusive, and who did not sell such
24                      acquired securities before May 18, 2006, and were damaged,
                        including (a) those who received or acquired Juniper common stock
25                      issued pursuant to a registration statement on SEC Form S-4, dated
                        March 10, 2004, for the Company’s merger with NetScreen
26                      Technologies, Inc.; and (b) purchasers of Zero Coupon Convertible
                        Senior Notes due June 15, 2008 issued pursuant to a registration
27                      statement on SEC Form S-3, dated November 20, 2003. Excluded
                        from the Class are the Defendants and the current and former
28
      [PROPOSED] ORDER PRELIMINARILY APPROVING SETTLEMENT AND PROVIDING FOR NOTICE
                                                                                                            1
     {1964 / ORD / 00100748.DOC V3}
                        officers and directors of the Company, their immediate families,
 1                      their heirs, successors, or assigns and any entity controlled by any
                        such person.
 2
              2.      For purposes of the Settlement only, Lead Plaintiff is appointed as class
 3
     representatives of such class.
 4
              3.      The Court has determined for purposes of the Settlement only that (a) the class in
 5
     the Berry Action is so numerous that joinder of all members is impracticable; (b) there are
 6
     questions of law and fact common to the class; (c) the claims or defenses of Lead Plaintiff are
 7
     typical of the claims or defenses of the class; and (d) Lead Plaintiff will fairly and adequately
 8
     protect the interests of the class. The Court further finds, for purposes of Settlement only, that the
 9
     questions of law or fact common to class members in the Berry Action predominate over any
10
     questions affecting individual class members, including but not limited to whether Ms. Berry
11
     made any false or misleading statements with scienter in connection with the purchase or sale of
12
     Juniper’s securities. The Court also finds, for purpose of the Settlement only, that a class action
13
     is superior to other available methods for the fair and efficient adjudication of the Berry Action.
14
              4.      The Court previously certified the Juniper Action as a class action with the same
15
     class definition as that set forth in paragraph 1 above. For purposes of this Settlement only, the
16
     Court, pursuant to Rule 42(a), Fed. R. Civ. P., consolidates the Berry Action with the Juniper
17
     Action, as a single class action on behalf of the class of persons set forth in paragraph 1above.
18
              5.      The Court preliminarily approves the Stipulation and the Settlement set forth
19
     therein, and the Proposed Plan of Allocation described in the Notice, subject to further
20
     consideration at the Fairness Hearing described below.
21
              6.      A hearing (the “Fairness Hearing”) shall be held before this Court on August 30,
22
     2010, at 9 a.m., at the United States Courthouse – 4th Floor, Courtroom 8, 280 South 1st Street,
23
     San Jose, California, to determine whether the proposed Settlement of the Actions on the terms
24
     and conditions provided for in the Stipulation is fair, reasonable and adequate to the Class and
25
     should be approved by the Court; whether a Judgment as provided in the Stipulation should be
26
     entered herein; whether the proposed Plan of Allocation should be approved; and to determine the
27
     amount of fees and expenses that should be awarded to Plaintiff’s Lead Counsel. The Court may
28
      [PROPOSED] ORDER PRELIMINARILY APPROVING SETTLEMENT AND PROVIDING FOR NOTICE
                                                                                                           2
     {1964 / ORD / 00100748.DOC V3}
 1   adjourn the Fairness Hearing without further notice of Class Members.
 2            7.      The Court approves, as to form and content, the Notice of Class Action Certification
 3   and Proposed Partial Settlement (the “Notice”), the Proof of Claim and Release form (the “Proof
 4   of Claim”), and Summary Notice for publication annexed as Exhibits A-1, A-2 and A-3 hereto
 5   and finds that the mailing and distribution of the Notice and publishing of the Summary Notice
 6   substantially in the manner and form set forth in ¶¶ 8(b) and 8(c) of this Order meet the
 7   requirements of Federal Rule of Civil Procedure 23 and due process, and is the best notice
 8   practicable under the circumstances and shall constitute due and sufficient notice to all Persons
 9   entitled thereto.
10            8.      Lead Counsel is hereby authorized to retain the firm of Rust Consulting, Inc. as
11   Settlement Administrator, and to supervise and administer the notice procedure as well as the
12   processing of claims as more fully set forth below:
13                      (a)      The Settlement Administrator shall make reasonable efforts to identify all
14   Persons who are Members of the Class, including beneficial owners whose shares of Juniper
15   securities are held by banks, brokerage firms, or other nominees. Beginning on March 19, 2010,
16   Juniper Networks, Inc. has provided to Lead Plaintiff information available from Juniper’s
17   transfer agent, Wells Fargo Shareowner Services, including record shareholder lists and other
18   records as appropriate for providing the Notice to the persons and entities who can be identified
19   through reasonable efforts from the records of Juniper.
20                      (b)      On or before May 11, 2010, (the “Notice Date”), the Claims Administrator
21   shall cause a copy of the Notice and the Proof of Claim, substantially in the forms annexed as
22   Exhibits A-1 and A-2 hereto, to be mailed by first-class mail to all Class Members who can be
23   identified with reasonable effort;
24                      (c)      On or before May 31, 2010, Lead Counsel shall cause the Summary Notice
25   to be published once in the national edition of The Wall Street Journal and the San Jose Mercury
26   News; and
27                      (d)      On or before August 20, 2010, Lead Counsel shall cause to be served on
28
      [PROPOSED] ORDER PRELIMINARILY APPROVING SETTLEMENT AND PROVIDING FOR NOTICE
                                                                                                              3
     {1964 / ORD / 00100748.DOC V3}
 1   Defendants’ Counsel and filed with the Court proof, by affidavit or declaration, of such mailing
 2   and publishing.
 3              9.    Nominees who purchased publicly traded securities of Juniper Networks, Inc. for
 4   the beneficial ownership of Class Members shall send the Notice and the Proof of Claim to all
 5   beneficial owners of such publicly traded Juniper securities within ten (10) days after receipt
 6   thereof, or send a list of the names and addresses of such beneficial owners to the Claims
 7   Administrator within ten (10) days of receipt thereof, in which event the Claims Administrator
 8   shall promptly mail the Notice and Proof of Claim to such beneficial owners. Such nominees
 9   shall be reimbursed from the Settlement Fund, upon receipt by the Claims Administrator of
10   proper documentation, for the reasonable out-of-pocket expenses of providing notice to beneficial
11   owners who are Class Members, which expenses would not have been incurred except for the
12   sending of such Notice, subject to further order of this Court with respect to any dispute
13   concerning such compensation.
14            10.     All reasonable expenses incurred in identifying and notifying Class Members, as
15   well as administering the Settlement Fund, shall be paid as set forth in the Stipulation. In the
16   event the Settlement is not approved by the Court, or otherwise fails to become effective, Lead
17   Plaintiff, Lead Counsel, and the Class shall not be responsible for any expenses validly disbursed
18   or reimbursed in accordance with this Stipulation from the Settlement Fund, pursuant to ¶¶ 9 and
19   11 of the Stipulation and ¶¶ 8-9 of this Order.
20            11.     All Class Members shall be bound by all determinations and judgments in the
21   Actions concerning the Settlement, whether favorable or unfavorable to the Class.
22            12.     Class Members who do not timely and validly effect their exclusion from the Class
23   and who wish to submit a claim for recovery from the Settlement Fund shall complete and submit
24   timely, valid Proof of Claim forms to the Claims Administrator at the Post Office Box indicated
25   in the Notice, postmarked not later than September 10, 2010. Such deadline may be further
26   extended by Court order. Provided that they are actually received no later than thirty (30) days
27   after September 10, 2010, Proofs of Claim shall be deemed to have been submitted when posted,
28
      [PROPOSED] ORDER PRELIMINARILY APPROVING SETTLEMENT AND PROVIDING FOR NOTICE
                                                                                                          4
     {1964 / ORD / 00100748.DOC V3}
 1   if received with a postmark indicated on the envelope and if mailed by first-class, registered, or
 2   certified mail, postage prepaid, addressed in accordance with the instructions given in the Proof
 3   of Claim. All other Proofs of Claim shall be deemed to have been submitted when actually
 4   received by the Claims Administrator. To be valid, a Proof of Claim must (a) be completed in a
 5   manner that permits the Claims Administrator to determine the eligibility of the claim as set forth
 6   in the Proof of Claim; (b) include the release by the claimant of all Released Parties as set forth in
 7   the Stipulation; and (c) be signed with an affirmation that the information is true and correct. All
 8   Members of the Class who do not submit valid and timely Proofs of Claim shall be forever barred
 9   from receiving any payments from the Settlement Fund, but will in all other respects be subject to
10   and bound by the provisions of the Stipulation and the Order and Final Judgment, if entered.
11   Notwithstanding the foregoing, Plaintiff’s Lead Counsel shall have discretion to accept late-
12   submitted claims for processing by the Claims Administrator so long as the distribution of the
13   Settlement Fund is not materially delayed thereby.
14            13.     Any Class Member may enter an appearance in the Actions, at their own expense,
15   individually or through counsel of their own choice, in which case such counsel must file with the
16   Clerk of the Court and deliver to Plaintiff’s Lead Counsel and Defendants’ Counsel a notice of
17   such appearance. If they do not enter an appearance, they will be represented by Plaintiff’s Lead
18   Counsel.
19            14.     Any Class Member may, upon request, be excluded from the Class. Any such
20   Person must submit to the Claims Administrator a request for exclusion (“Request for
21   Exclusion”), at the address provided in the Notice, to be received no later than August 9, 2010. A
22   Request for Exclusion must be in writing, and must: (a) state the name, address, and telephone
23   number of the Person requesting exclusion; (b) identify the Person’s purchases (or acquisitions)
24   and sales of publicly traded Juniper securities made during the Class Period, including the date(s)
25   of purchase, acquisition or sale, price(s) paid or received, and the number of publicly traded
26   securities purchased, acquired and/or sold; (c) include the Person’s signature; and (d) state that
27   the Person wishes to be excluded from the Class. All Persons who submit valid and timely
28
      [PROPOSED] ORDER PRELIMINARILY APPROVING SETTLEMENT AND PROVIDING FOR NOTICE
                                                                                                          5
     {1964 / ORD / 00100748.DOC V3}
 1   Requests for Exclusion in the manner set forth in this paragraph shall have no rights under the
 2   Stipulation, shall not share in the distribution of the Net Settlement Fund, and shall not be bound
 3   by the Stipulation or the Judgment entered in the Actions.
 4            15.     Any Class Member may appear at the Fairness Hearing and show cause, if he, she
 5   or it has any reasons why the proposed Settlement of the Actions should or should not be
 6   approved as fair, reasonable and adequate, why a judgment should or should not be entered
 7   thereon, why the Plan of Allocation should or should not be approved, why attorneys’ fees and
 8   expenses should or should not be awarded to counsel for the Lead Plaintiff, or why the expenses
 9   of the Lead Plaintiff should or should not be awarded. Any Class Member may also object in
10   writing to the approval of the terms and conditions of the proposed settlement, or, if approved, the
11   Judgment to be entered thereon approving the same, or the order approving the Plan of
12   Allocation, or the attorneys’ fees and expenses to be awarded to Lead Plaintiff’s counsel. Any
13   objection(s) must be mailed on or before August 9, 2010, to the Court, Lead Counsel for Lead
14   Plaintiff, Defendants’ Counsel, and Berry’s Counsel, at the following addresses:
15                               Court
16                               Clerk of the Court
                                 United States District Court
17                               Northern District of California
                                 280 South 1st Street
18                               San Jose, CA 95113
19                               Lead Counsel for Lead Plaintiff and the Class:
20                               Barbara J. Hart
21                               David C. Harrison
                                 Lowey Dannenberg Cohen & Hart, P.C.
22                               David C. Harrison
                                 One North Broadway, Suite 509
23                               White Plains, NY 10601-2310

24                               Counsel for Juniper Defendants:

25                               Nina F. Locker
                                 Steven Guggenheim
26                               Wilson Sonsini Goodrich & Rosati, P.C.
                                 650 Page Mill Road
27                               Palo Alto, CA 94304-1050
28
      [PROPOSED] ORDER PRELIMINARILY APPROVING SETTLEMENT AND PROVIDING FOR NOTICE
                                                                                                           6
     {1964 / ORD / 00100748.DOC V3}
                                 Counsel for Lisa C. Berry:
 1

 2                               Melinda Haag
                                 James N. Kramer
 3                               Nancy E. Harris
                                 Orrick, Herrington & Sutcliffe LLP
 4                               405 Howard Street
                                 San Francisco, CA 94105-2669
 5

 6   A written objection should include the following information: (a) the full name, address, and

 7   phone number of the objecting Class Member; (b) the number of securities the Class Member

 8   purchased or sold from July 11, 2003 through August 10, 2006 and/or acquired in the NetScreen

 9   Merger; (c) a written statement of the grounds for the objection, signed by the objector or its

10   counsel; and (d) a statement of whether the objector intends to appear at the Fairness Hearing. If

11   the objector intends to appear at the Fairness Hearing through counsel, the objection should also

12   state the identity of all attorneys who will appear at the Fairness Hearing. Objectors who make

13   written objections are not obligated to attend the Fairness Hearing.

14          16.       Any Class Member who does not make a written objection in the manner provided

15   above and/or appear in person or through a representative at the Fairness Hearing shall be deemed

16   to have waived such objection and shall forever be foreclosed from making any objection to the

17   fairness or adequacy of the proposed Settlement, the Stipulation, the Plan of Allocation, or to the

18   award of attorneys’ fees and expenses to Lead Plaintiff’s counsel, unless otherwise ordered by the

19   Court.

20          17.       All funds held by the Class Escrow Agent pursuant to the Stipulation and the

21   Escrow Agreement shall be deemed and considered to be in the legal custody of the Court, and

22   shall remain subject to the jurisdiction of the Court, until such time as such funds shall be

23   distributed or returned pursuant to the Stipulation and/or further order(s) of the Court.

24          18.       All papers in support of the Settlement, the Plan of Allocation, and any application

25   by counsel for the Lead Plaintiff for attorneys’ fees or reimbursement of expenses, or by Lead

26   Plaintiff for reimbursement of its expenses, shall be filed on or before August 2, 2010. All papers

27   in response to Class Members’ objections to the Settlement, if any, shall be filed and served on or

28   before August 19, 2010.

      [PROPOSED] ORDER PRELIMINARILY APPROVING SETTLEMENT AND PROVIDING FOR NOTICE
                                                                                                             7
     {1964 / ORD / 00100748.DOC V3}
 1          19.       Defendants and Defendants’ Counsel shall have no responsibility for the Plan of
 2   Allocation or any application for attorneys’ fees or reimbursement of expenses submitted by Lead
 3   Counsel or the Lead Plaintiff, and such matters will be considered separately from the fairness,
 4   reasonableness and adequacy of the Settlement.
 5          20.       At or after the Fairness Hearing, the Court shall determine whether the Plan of
 6   Allocation proposed by Lead Plaintiff’s Lead Counsel, and any application for attorneys’ fees or
 7   reimbursement of expenses shall be approved.
 8          21.       Neither the Stipulation, nor any of its terms or provisions, nor any of the
 9   negotiations or proceedings connected with it, nor this Order, shall be construed as an admission
10   or concession by Defendants or their Related Parties of the truth of any of the allegations in the
11   Actions, or of any liability, fault, or wrongdoing of any kind and shall not be construed as, or
12   deemed to be evidence of or an admission or concession that, Lead Plaintiff or any Class
13   Members have suffered any damages, harm, or loss.
14          22.       Pending final determination of whether the Settlement should be approved, Lead
15   Plaintiff, all Class Members, and anyone who acts or purports to act on their behalf, are enjoined
16   from initiating or prosecuting any action(s) or claim(s) against any Defendant or Related Party
17   that are within the scope of the Released Claims as provided in the Stipulation.
18          23.       Pending final determination of whether the Settlement should be approved, all
19   proceedings with respect to the Defendants in the Actions are stayed pending further order of the
20   Federal Court, with the exception of claims against Defendant Ernst & Young in the Juniper
21   Action.
22          24.       The Court reserves the right to change the date of the Fairness Hearing without
23   further notice to the Members of the Class, and retains jurisdiction to consider all further
24   applications arising out of or connected with the proposed Settlement. Should the Court change
25   the date of the Fairness Hearing, such a change will be reflected in the Court’s calendar and will
26   be accessible via the Court’s website at www.cand.uscourts.gov. and shall be published by the
27   Settlement Administrator on the website it created in connection with the proposed settlement of
28
      [PROPOSED] ORDER PRELIMINARILY APPROVING SETTLEMENT AND PROVIDING FOR NOTICE
                                                                                                          8
     {1964 / ORD / 00100748.DOC V3}
 1   these Actions. The Court may approve the Settlement, with such modifications as may be agreed
 2   to by the Settling Parties, if appropriate, without further notice to the Class.
 3            IT IS SO ORDERED.
 4

 5   Dated: ____________________,
            April 12, 2010        2010
                                                      THE HONORABLE JAMES J. WARE
 6                                                    UNITED STATES DISTRICT COURT JUDGE
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      [PROPOSED] ORDER PRELIMINARILY APPROVING SETTLEMENT AND PROVIDING FOR NOTICE
                                                                                                 9
     {1964 / ORD / 00100748.DOC V3}
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     Exhibit A-1
 1   UNITED STATES DISTRICT COURT FOR                                                        EXHIBIT A-1
     THE NORTHERN DISTRICT OF CALIFORNIA
 2

 3   IN RE JUNIPER NETWORKS, INC.                                C 06-04327-JW (PVT)
     SECURITIES LITIGATION
 4

 5
     THE NEW YORK CITY EMPLOYEES’                                C 08-0246-JW (PVT)
 6   RETIRMENT SYSTEM, et al.,

 7                                    v.

 8   LISA C. BERRY,

 9

10
                     NOTICE OF CLASS ACTION CERTIFICATION,
                   PROPOSED PARTIAL SETTLEMENT, MOTION FOR
11
               ATTORNEYS’ FEES AND EXPENSES AND HEARING THEREON
             IF YOU PURCHASED OR ACQUIRED PUBLICLY TRADED SECURITIES OF
12        JUNIPER NETWORKS, INC. (“JUNIPER” OR THE “COMPANY”) FROM JULY 11,
              2003 THROUGH AUGUST 10, 2006, INCLUSIVE, AND DID NOT SELL SUCH
13          SECURITIES BEFORE MAY 18, 2006, INCLUDING (A) RECEIPT OF JUNIPER
                COMMON STOCK IN THE COMPANY’S MERGER WITH NETSCREEN
14         TECHNOLOGIES INC. IN APRIL 2004; AND (B) PURCHASE OF ZERO COUPON
            CONVERTIBLE SENIOR NOTES ON OR AFTER NOVEMBER 20, 2003, YOUR
15        RIGHTS ARE AFFECTED AND YOU COULD RECEIVE A PAYMENT FROM THE
                      PROPOSED PARTIAL CLASS ACTION SETTLEMENT.
16
                 A Federal Court authorized this notice. This is not a solicitation from a lawyer.
17                                This is not a notice that you have been sued.
18         •    This settlement (the “Settlement”) will provide $169,000,000 in cash, plus interest, to pay
                claims from investors who (i) purchased Juniper common stock from July 11, 2003
19              through August 10, 2006, inclusive (the “Class Period”), (ii) received Juniper common
                stock in connection with the merger with NetScreen Technologies, Inc. (“NetScreen”)
20              which closed April 16, 2004 (the “NetScreen Merger”), and/or (iii) purchased zero coupon
                convertible senior notes due June 15, 2008 (the “Notes”) on or after November 20, 2003,
21              and suffered losses. Depending on the number of eligible securities purchased by
                investors who elect to participate in the Settlement, and when those securities were
22              purchased and sold, the average distribution is estimated to be $0.383 per damaged share
                and $3.75 per every $1,000 face value in damaged Notes before deduction of Court-
23              approved fees and expenses described below. A further description of the Plan of
                Allocation is on pages 16 to 19 below.1
24
           •    The Settlement, subject to court approval, resolves class action claims alleging that
25              Juniper and certain of its officers and directors engaged in a multi-year scheme to
                backdate stock option grants to enrich Juniper’s executives and employees, and failed to
26              record $900 million in compensation expenses associated with the grant of these options.
                For Lead Plaintiff, the principal reason for the Settlement is the benefit to be provided to
27

28   1
         Capitalized terms that are not defined in this Notice are defined in the Stipulation of Settlement.
     NOTICE OF CLASS ACTION CERTIFICATION, PROPOSED SETTLEMENT, MOTION FOR ATTORNEYS’ FEES AND
     EXPENSES AND HEARING THEREON – CASE NOS. C06-04327-JW (PVT) AND C08-0246-JW (PVT)

     {1064 / NOT / 00100756.DOC V2}
 1            the Class now, while avoiding the costs and risks to you and the Class from continuing
              with litigation. The Lead Plaintiff conducted a substantial investigation and discovery
 2            into the facts of the case prior to reaching the Settlement, and considered the risks of
              proving liability and damages, in addition to the further risk that a later judgment may not
 3            be as large as the Settlement amount. For Defendants, the principal reason for the
              Settlement is to eliminate the expense, risks, and uncertainty of continued litigation. The
 4            Settlement pays money to investors like you, and it releases Juniper and several of its
              current and former officers and directors (identified at page 5) from liability.
 5
         •    If the Settlement is approved by the Court, the Court-appointed lawyers for investors,
 6            Lowey Dannenberg Cohen & Hart, P.C., will apply to the Court for an award of attorneys’
              fees, which amounts to less than $9,000,000, or 5.3 percent of the Settlement Fund, and
 7            for reimbursement of expenses not to exceed $865,000 incurred in investigating the facts,
              prosecuting the case, and negotiating the Settlement. These payments, if approved, will
 8            come out of the $169 million Settlement Fund, and are estimated to be an average of
              $0.022 per damaged security.
 9
         •    Lead Plaintiff and the Defendants do not agree on the average amount of damages per
10            share that would be recoverable if the Lead Plaintiff were to have prevailed on each claim
              alleged. The issues on which the parties disagree include: (1) whether the Defendants
11            violated the federal securities laws; (2) whether the alleged federal securities laws
              violations actually caused any damage to investors; and (3) whether the allegedly false or
12            misleading statements and omissions caused the price of Juniper securities to be
              artificially inflated during the Class Period, and if so, the amount by which Juniper
13            securities were allegedly artificially inflated (if at all) during the Class Period.
14       •    If you are a Class Member (as the term is defined below), your legal rights are affected by
              the Settlement, regardless of whether you act or do not act. Read this notice carefully.
15
         •    If you have questions about the proposed Settlement, or would like further information
16            about the Lawsuits, you may contact Lead Counsel at: [name, telephone number, and
              address of one or more representatives of counsel for the plaintiff class who will be
17            reasonably available to answer questions].
18           YOUR LEGAL RIGHTS AND OPTIONS IN THIS SETTLEMENT:
19   SUBMIT A CLAIM FORM – The only way to get a payment from the Settlement.
20            Deadline: September 10, 2010.
21   EXCLUDE YOURSELF – You get no payment from the Settlement. This is the only option
     that might allow you to bring an individual lawsuit against the Defendants asserting the legal
22   claims being released in this case, if you have a valid and timely claim.
23            Deadline: August 9, 2010.
24   OBJECT – You may write to the Court if you do not like this Settlement, the Plan of Allocation,
     and/or the Request for Attorneys’ Fees and Expenses.
25
              Deadline: August 9, 2010.
26
     GO TO A HEARING – You may ask to speak in Court about the fairness of the Settlement.
27
              Hearing Date: August 30, 2010.
28

     NOTICE OF CLASS ACTION CERTIFICATION, PROPOSED SETTLEMENT, MOTION FOR ATTORNEYS’ FEES AND
     EXPENSES AND HEARING THEREON – CASE NOS. C06-04327-JW (PVT) AND C08-0246-JW (PVT)                  2
     {1064 / NOT / 00100756.DOC V2}
 1   DO NOTHING – You get no payment and give up your rights relating to the claims described in
     this Notice.
 2
                   •    These rights and options – and the deadlines to exercise them – are explained in
 3                      this Notice.
 4                 •    The Court in charge of the lawsuits must decide whether to approve the
                        Settlement. If approved, payments will be made to claimants from the Settlement
 5                      Fund on the Effective Date, i.e., after the Court approves the Settlement and enters
                        judgment, and after all appeals and subsequent proceedings (if any) are resolved.
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28

     NOTICE OF CLASS ACTION CERTIFICATION, PROPOSED SETTLEMENT, MOTION FOR ATTORNEYS’ FEES AND
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 6
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 7

 8
       1.       Why did I get this Notice package?
 9
     You or someone in your family may have purchased Juniper common stock or Notes during the
10   Class Period, or received Juniper stock in connection with the NetScreen Merger.
11   The Court caused this Notice to be sent to you because you have a right to know about a proposed
     partial settlement of class action lawsuits, a hearing to be held by the Court to consider the
12   fairness, reasonableness and adequacy of the Settlement, and about all of your options, before the
     Court decides whether to approve the Settlement. If the Court approves the Settlement, and after
13   any objections or appeals are resolved, a claims administrator appointed by the Court will make
     the payments that the Settlement allows.
14
     This Notice explains the lawsuits, the Settlement, your legal rights, what benefits are available,
15   who is eligible for them, and how to get them. It is not an expression of any opinion by the Court
     with respect to the truth of the allegations of the litigation or the merits of the claims or defenses
16   asserted.
17   The Court in charge of the lawsuits is the United States District Court for the Northern District of
     California, and the cases are known as In re Juniper Networks, Inc. Securities Litigation, Case
18   No. C 06-04327-JW, and the New York City Employees’ Retirement System, et al., v. Lisa C.
     Berry, Case No. C 08-0246-JW (collectively the “Actions”). The Honorable James Ware is the
19   Judge in charge of this class action.
20

21
       2.       What is this lawsuit about?
22
     These lawsuits are class actions alleging that Juniper, certain of its current and former officers
23   and directors, and Juniper’s auditors Ernst & Young LLP violated federal securities laws. The
     people who are suing are called the New York City Pension Funds, and are comprised of the New
24   York City Employees’ Retirement System, the Teachers’ Retirement System of the City of New
     York, the New York City Fire Department Pension Fund, the New York City Police Pension
25   Fund, the New York City Police Superior Officers’ Variable Supplements Fund, the New York
     City Police Officers’ Variable Supplements Fund, the New York City Firefighters’ Variable
26   Supplements Fund, the New York City Fire Officers’ Variable Supplements Fund, and the New
     York City Teachers’ Retirement System of the City of New York Variable Annuity Program.
27   The New York City Pension Funds are suing as the Lead Plaintiff on behalf of other similarly
     situated investors in publicly traded Juniper securities during the Class Period.
28

     NOTICE OF CLASS ACTION CERTIFICATION, PROPOSED SETTLEMENT, MOTION FOR ATTORNEYS’ FEES AND
     EXPENSES AND HEARING THEREON – CASE NOS. C06-04327-JW (PVT) AND C08-0246-JW (PVT)                                                4
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 1   Defendant Juniper and certain of its current and former senior officers and directors have been
     sued for federal securities law violations, in which executives allegedly backdated stock option
 2   grants to enrich corporate insiders and employees, misrepresented the Company’s stock-granting
     practices, and failed to record approximately $900 million in compensation expenses associated
 3   with the grant of concealed in-the-money options. The defendants who are part of the proposed
     Settlement are Juniper, Scott Kriens (former Chairman and Chief Executive Officer), Marcel
 4   Gani (former Chief Financial Officer and Chief of Staff), Lisa C. Berry (former General
     Counsel), and current and/or former directors William R. Hearst III, Vinod Khosla, Kenneth
 5   Levy, Stratton Sclavos, Pradeep Sindhu, William R. Stensrud, Robert Calderoni, and Kenneth
     Goldman. These defendants are collectively referred to as the “Defendants.” Ernst & Young
 6   LLP is also named as a defendant on a claim relating to the NetScreen Merger, but Ernst &
     Young is not part of the Settlement, and Lead Plaintiff continues to prosecute its claim against
 7   Ernst & Young.
 8   This litigation began in the summer of 2006, when at least two class action complaints were filed
     against Juniper, Scott Kriens, Marcel Gani, William R. Hearst III, Vinod Khosla, Kenneth Levy,
 9   Stratton Sclavos, Pradeep Sindhu, William R. Stensrud, Robert Calderoni, and Kenneth Goldman.
     On November 20, 2006, the actions were consolidated as In re Juniper Networks Inc. Securities
10   Litigation (the “Juniper Action”), the New York City Pension Funds was appointed Lead
     Plaintiff, and the Court approved Lead Plaintiff’s choice of the law firm of Lowey Dannenberg
11   Cohen & Hart, P.C. as Lead Counsel. On January 12, 2007, Lead Plaintiff filed a Consolidated
     Class Action Complaint. In March 2007, Juniper filed restated financial statements recording a
12   cumulative reduction in the Company’s earnings of $900 million to account for compensation
     expenses associated with historical stock option grants. On April 9, 2007, Lead Plaintiff filed the
13   Amended Consolidated Class Action Complaint (the “Complaint”).
14   On June 7, 2007, the Juniper Defendants moved to dismiss the Complaint on the grounds that,
     among other things, it failed to state a claim for relief under Section 10(b) and Rule 10b-5 under
15   the standards of the Private Securities Litigation Reform Act (“PSLRA”) and under Rule 9(b) of
     the Federal Rules of Civil Procedure. The motion was granted in part and denied in part pursuant
16   to an Order issued on March 31, 2008. On June 23, 2008, the Juniper Defendants answered the
     Complaint.
17
     On January 14, 2008, Lead Plaintiff filed a separate class action complaint in this Court against
18   Lisa C. Berry, Juniper’s former General Counsel, Vice President, and Secretary. This separate
     action was titled New York City Employees’ Retirement System, et al. v. Lisa C. Berry (the “Berry
19   Action”). On September 29, 2008, Berry moved to dismiss the initial complaint against her. On
     May 15, 2009, Judge Ware granted in part and denied in part Berry’s motions to dismiss the
20   initial complaint. On June 18, 2009, Lead Plaintiff filed an Amended Complaint against Berry.
     On July 13, 2009, Berry moved to dismiss the Amended Complaint. On September 24, 2009, the
21   Court denied in part Berry’s motion to dismiss. On October 14, 2009, Berry filed an Answer to
     the Amended Complaint in the Berry Action.
22
     Lead Plaintiff alleges that from the time Juniper went public in June 1999, the Defendants
23   secretly backdated the grant dates of stock options to dates when the market price of Juniper’s
     stock was lower, and failed to record compensation charges for those backdated option grants, as
24   required by generally accepted accounting principles. Lead Plaintiff alleges that this practice of
     contradicted Juniper’s public statements and caused the Company’s financial statements and other
25   SEC filings to be materially false and misleading. Lead Plaintiff alleges that the false and
     misleading statements included statements (1) that under the Company’s stock option plans, no
26   stock options “have been granted for less than fair market value on the date of grant”; (2) that no
     compensation expense was recognized for the option grants because “the exercise price of the
27   Company’s stock options equals the market price of the underlying stock on the date of grant”;
     and (3) that stock options “will provide value to executive officers only when the price of the
28   Company’s common stock increases over the exercise price.” Lead Plaintiff alleges that Juniper

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     {1064 / NOT / 00100756.DOC V2}
 1   failed to record approximately $900 million in compensation expenses associated with backdated
     stock option grants. Lead Plaintiff also alleges that the backdating caused Juniper’s registration
 2   statement for common stock issued in the NetScreen Merger, and Juniper’s registration statement
     for its Notes, to contain false or misleading statements.
 3
     Lead Plaintiff alleges that Juniper, Scott Kriens, Marcel Gani and Lisa C. Berry each violated
 4   Section 10(b) and Rule 10b-5 of the Securities Exchange Act of 1934. Lead Plaintiff alleges that
     Juniper and each individual defendant violated Section 11 of the Securities Act of 1933 in
 5   connection with one or more registration statements for the NetScreen Merger and/or the Notes.
     Each individual defendant is also sued as a “control person” under either Section 20 of the
 6   Securities Exchange Act of 1934, or Section 15 of the Securities Act of 1933, or both.
 7   On March 2, 2009, Lead Plaintiff moved in the Juniper Action for class certification under Rule
     23(a) and (b)(3) of the Federal Rules of Civil Procedure. In connection with Lead Plaintiff’s
 8   motion, the parties engaged in substantial fact and expert discovery, briefing, and oral argument.
     On September 25, 2009, the Court determined that the Juniper Action should proceed as a class
 9   action on behalf of the following Class:
10                      All persons and entities who purchased or otherwise acquired the
                        publicly traded securities of Juniper Networks, Inc. from July 11,
11                      2003 through August 10, 2006, inclusive, and who did not sell such
                        acquired securities before May 18, 2006, and were damaged,
12                      including (a) those who received or acquired Juniper common stock
                        issued pursuant to a registration statement on SEC Form S-4, dated
13                      March 10, 2004, for the Company’s merger with NetScreen
                        Technologies Inc.; and (b) purchasers of Zero Coupon Convertible
14                      Senior Notes due June 15, 2008 issued pursuant to a registration
                        statement on SEC Form S-3, dated November 20, 2003. Excluded
15                      from the Class are the Defendants and the current and former
                        officers and directors of the Company, their immediate families,
16                      their heirs, successors, or assigns and any entity controlled by any
                        such person.
17
     On September 2, 2009, the Defendants in the Juniper Action filed a motion for judgment on the
18   pleadings which effectively sought a ruling that certain drops in Juniper’s stock price in May
     2006 could not be included in Lead Plaintiff’s calculation of damages. On October 9 and October
19   16, 2009, respectively, Lead Plaintiff filed its Opposition to the motion and Defendants filed their
     Reply. The parties subsequently adjourned the hearing date on the motion for judgment on the
20   pleadings in light of settlement negotiations. On February 16, 2010, the Defendants stipulated to
     withdraw this motion in light of the impending Settlement.
21
     The Defendants deny Lead Plaintiff’s allegations. The Defendants assert, among other things,
22   that they did not violate any federal securities laws and that Juniper’s investors were not
     damaged.
23
     The proposed settlement would resolve all claims against the Defendants in both the Juniper
24   Action and the Berry Action.
25
       3.       What is a class action?
26
     In a class action, the Lead Plaintiff sues on behalf of numerous persons who have similar claims.
27   The Lead Plaintiff acts as the representative of the class of similarly situated persons. All persons
     with similar claims constitute a Class, and each one is a Class member. The Court will resolve
28   the claims of all Class Members, except for those who properly exclude themselves from the

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     {1064 / NOT / 00100756.DOC V2}
 1   Class.
 2
       4.       Why is there a Settlement?
 3
     The proposed Settlement is the result of arm’s-length negotiations, including a two-day mediation
 4   in February 2009 under the auspices of a retired Federal judge. The Settlement allows Lead
     Plaintiff and the Class to avoid the possibility that one or more of their claims would be rejected
 5   by the Court or the jury, and also avoids the risks and costs of a trial and possible appeals. Class
     Members who lost money will get some compensation.
 6
     Lead Counsel has investigated and litigated the claims since September 2006. At the time the
 7   Settlement was reached, Lead Counsel also had the benefit of a substantial amount of fact
     discovery provided by Defendants as well as Ernst & Young. Lead Counsel has reviewed more
 8   than 2.5 million pages of documents and deposed 28 fact witnesses. Lead Counsel also deposed
     Juniper’s financial expert. Lead Counsel retained experienced industry and financial experts to
 9   assist them in assessing the strengths and weaknesses of their claims and potential recoverable
     damages.
10
     At the time the Settlement was reached, the Defendants had filed a motion which, if granted could
11   have substantially reduced the amount of damages Lead Plaintiff could recover at trial. In
     addition, if Lead Plaintiff proceeded to trial, it faced the risk that the Defendants would prevail on
12   the defenses they asserted and that Lead Plaintiff would not win on any of the claims. Even if
     Lead Plaintiff had won at trial, it may not get any more money than the $169 million that Juniper
13   agreed to pay in the Settlement, and the Defendants would also be able to challenge the judgment
     through appeals.
14
     As a result, and based upon their factual investigation, discovery conducted to date, consultation
15   with experts and evaluation of the claims of the Class Members and defenses that Defendants
     asserted, Lead Plaintiff and Lead Counsel believe that the Settlement is fair, reasonable and
16   adequate, and in the best interests of the Class. The Settlement provides an immediate and certain
     recovery without incurring any additional risk. By settling, Lead Plaintiff and the Class avoid the
17   cost, uncertainty, and delay of continued litigation.

18   The Defendants believe the Settlement is fair because it allows the Defendants to avoid the cost
     and distraction of continued litigation and the risk of losing at trial or on appeal.
19

20
                              WHO IS INCLUDED IN THE SETTLEMENT
21
       5.       How do I know if I am a Class Member?
22

23   Everyone who fits the following description is a Class Member:

24                      All persons and entities who purchased or otherwise acquired the
                        publicly traded securities of Juniper Networks, Inc. from July 11,
25                      2003 through August 10, 2006, inclusive, and who did not sell such
                        acquired securities before May 18, 2006, and were damaged,
26                      including (a) those who received or acquired Juniper common stock
                        issued pursuant to a registration statement on SEC Form S-4, dated
27                      March 10, 2004, for the Company’s merger with NetScreen
                        Technologies, Inc.; and (b) purchasers of Zero Coupon Convertible
28                      Senior Notes due June 15, 2008 issued pursuant to a registration

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     {1064 / NOT / 00100756.DOC V2}
 1                      statement on SEC Form S-3, dated November 20, 2003. Excluded
                        from the Class are the Defendants and the current and former
 2                      officers and directors of the Company, their immediate families,
                        their heirs, successors or assigns; and any entity controlled by any
 3                      such person.
 4   “Person” means an individual, corporation, partnership, limited partnership, association, joint
     stock company, estate, legal representative, trust, unincorporated organization, and any other type
 5   of legal entity, and their respective executors, administrators, representatives, agents, attorneys,
     heirs, successors, and/or assigns.
 6

 7

 8     6.       Are there any exceptions to being included as a Class Member?

 9   Yes. As mentioned in the description above, you are not a Class Member if any of the following
     applies to you:
10
                        •        You do not meet the definition of the Class above.
11                      •        You exclude yourself from the Class.
                        •        You are a Defendant.
12                      •        You are an officer and/or director of Juniper.
                        •        You are a member of the immediate family or an heir, successor or assign
13                               of the foregoing.
                        •        Sold all your Juniper securities prior to May 18, 2006.
14                      •        You are a firm, trust, corporation, or other entity in which any Defendants
                                 have a controlling interest.
15

16     7.       I’m still not sure whether I’m included.
17
     If you are still not sure whether you are included, you can ask for free help. You can contact the
18   Claims Administrator at [insert contact information] or you can fill out the claim form
     described in question 10, to see if you qualify. You can also contact Lead Counsel, Lowey
19   Dannenberg Cohen & Hart, P.C., at One North Broadway, Suite 509, White Plains, New York
     10601-2310, telephone: 914-997-0500; e-mail: bhart@lowey.com or dharrison@lowey.com.
20

21
                                      THE SETTLEMENT BENEFITS
22
       8.       What does the Settlement provide?
23

24   Juniper paid $169.0 million into an escrow account that is earning interest for the benefit of the
     Class. The balance of this fund, after payment of Court-approved attorneys’ fees and expenses,
25   taxes, and the costs of claims administration, including the costs of printing and mailing this
     Notice and the cost of publishing newspaper notice, will be divided among all Class Members
26   who submit valid claim forms (also called Authorized Claimants). The amount of money you
     will receive depends on a number of factors, including the total number of other Class Members
27   who submit valid Proofs of Claim. This is discussed further in the next question below.

28

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 1
       9.       How much will my payment be?
 2
     The Settlement Fund of $169 million, plus interest earned, minus the costs and expenses
 3   described in question 8 above, will be distributed on a pro rata basis to Authorized Claimants. If
     you are entitled to a payment, you will receive your pro rata share. The amount of your share of
 4   the Settlement Fund will depend on the number of valid and timely claim forms that Class
     Members send in, how many shares of Juniper stock or Notes you bought or acquired in the
 5   NetScreen merger, and when you bought and sold these securities. You should look at the Plan of
     Allocation section of this notice that appears on pages 16 to 19 below for a description of the
 6   calculations to be made in computing the Recognized Loss of the Authorized Claimants, that is,
     those investors who submit valid and timely Proof of Claim and Release forms establishing that
 7   they are Class Members.

 8   Depending on the number of Authorized Claimants, and the number of eligible securities
     purchased by Authorized Claimants and when those securities were purchased and sold, the
 9   average distribution is estimated to be $0.383 per damaged share and $3.75 per $1,000 face value
     of damaged Notes before deduction of the costs and Court-approved payments described under
10   question 8 above.

11   Lead Counsel, without further notice to the Class, will apply to the Court for payment of the
     Claims Administrator’s fees and expenses incurred in sending this Notice, administering the
12   Settlement and distributing the Settlement proceeds to the Authorized Claimants. These fees and
     expenses will be paid from the Settlement Fund and will reduce the amount available for
13   distribution to Authorized Claimants. The same will be true of Court-awarded attorneys’ fees and
     expenses to Lead Counsel. Lead Counsel’s request for attorneys’ fees and costs is discussed
14   further at question 17 below.

15

16     10.      How can I get a payment?
17
     To qualify for payment, you must timely send in a Proof of Claim and Release form that is
18   received by the Claims Administrator. A Proof of Claim and Release form is attached to this
     Notice. Read the instructions carefully, fill out the form, include all the documents the form asks
19   for, sign it, and mail it postmarked no later than September 10, 2010. Unless the Court orders
     otherwise, if you do not timely submit a Proof of Claim, you will be barred from receiving any
20   payments from the Net Settlement Fund, but will in all other respects be bound by the Final
     Judgment in the case.
21

22
       11.      When will I receive my payment?
23

24   The Court will hold a hearing on August 30, 2010, to decide whether to approve the Settlement
     (as discussed below on pages 13 to 14). If the Court approves the Settlement, there may be
25   appeals. If there are any appeals, it is uncertain when these appeals will be resolved, and
     resolving them can take time, typically more than a year. The Claims Administrator will also
26   need time to process the submitted claims before any distribution can be made to Authorized
     Claimants. The claim administration process is complicated and will take many months, even
27   when there is no delay due to an appeal. Please be patient.

28

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     {1064 / NOT / 00100756.DOC V2}
 1
       12.      What am I giving up to get a payment and stay in the Class?
 2
     Unless you exclude yourself, you are a member of the Class. That means that you will give up
 3   and release any claims you might have against the Defendants relating to any of the claims
     brought by Lead Plaintiff in these Actions, as described more fully below. It also means that all
 4   of the Court’s orders will apply to you and legally bind you. This will be true even if you do not
     submit or sign a Proof of Claim and Release form, unless you exclude yourself from the Class.
 5
     If the proposed Settlement is approved, the Court will enter a Final Judgment and Order of
 6   Dismissal with Prejudice. The Judgment will dismiss the Released Claims with prejudice as to all
     Released Persons. The Judgment will provide that all Class Members shall be deemed to have
 7   released and forever discharged all Released Claims against all Released Persons and that the
     Released Persons shall be deemed to have released and discharged all Class Members and
 8   counsel to the Lead Plaintiff from all claims arising out of the prosecution and settlement of the
     Actions or the Released Claims. Lead Plaintiff’s claim will continue against Ernst & Young,
 9   which is not a party to the Settlement.

10   “Released Claims” means any and all rights, demands, claims (including “Unknown Claims” as
     defined below) and causes of action of every nature and description, in law or equity, whether
11   arising under federal, state, local, statutory or common law, foreign law, or other law, or other
     law, rule or regulation, whether fixed or contingent, liquidated or unliquidated, matured or un-
12   matured, accrued or unaccrued and whether known or unknown that Lead Plaintiff or any
     member of the Class asserted, or could have asserted in the Actions or in any other action or
13   forum against the Released Persons arising out of, relating to, directly or indirectly, or in
     connection with the purchase, or purchase and sale, or acquisition of Juniper securities during the
14   Class Period, and the facts, matters, allegations, transactions, events, disclosures, statements, acts
     or omissions which were alleged or could have been alleged in the Actions. For the avoidance of
15   doubt, “Settled Class Claims” or “Released Claims” shall not include those Unreleased and
     Assigned Claims as defined in the Stipulation of Settlement dated August 11, 2008 in In re
16   Juniper Derivative Action, No. 5:06-cv-03396-JW (N.D. Cal.) and In re Juniper Networks, Inc.
     Derivative Litigation, Lead Case No. 1:06CV064294 (Superior Court of California, Santa Clara
17   County), which was approved by court orders in both of those cases. Nothing herein is intended
     to release any claims against Ernst & Young LLP.
18
     “Released Persons” means each and all of the Defendants and each of their Related Parties.
19   “Related Parties” means each of a Defendant’s past or present family members, heirs, executors,
     administrators, subsidiaries, parents, successors and predecessors, officers, directors, shareholders
20   (excepting Class Members), partners, agents, employees, attorneys, insurers and any person, firm,
     trust, corporation, officer, director, or other individual or entity in which any Defendant has a
21   controlling interest or which is related to or affiliated with any of the Defendants, and the legal
     representatives, heirs, successors in interest, or assigns of the Defendants.
22
     “Unknown Claims” means a all claims, demands, liabilities, and causes of action of every nature
23   and description which the Lead Plaintiff or any Class Member does not know or suspect to exist
     in his, her or its favor at the time of the release of the Released Persons which, if known by him,
24   her or it, might have affected his, her or its settlement with and release of the Released Persons, or
     might have affected his, her or its decision not to object to or to seek exclusion from this
25   Settlement. With respect to any and all Released Claims, the Settling Parties stipulate and agree
     that, upon the Effective Date, the Lead Plaintiff shall expressly waive, and each of the Class
26   Members shall be deemed to have and by operation of the Judgment shall have expressly waived,
     the provisions, rights and benefits conferred by any law of any state or territory of the United
27   States, or principle of common law, which is similar, comparable or equivalent to California Civil
     Code § 1542, which provides:
28

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     {1064 / NOT / 00100756.DOC V2}
 1                      A general release does not extend to claims which the creditor does
                        not know or suspect to exist in his or her favor at the time of
 2                      executing the release, which if known by him or her must have
                        materially affected his or her settlement with the debtor.
 3
     The Lead Plaintiff and Class Members may hereafter discover facts in addition to or different
 4   from those which he, she or it now knows or believes to be true with respect to the subject matter
     of the Released Claims, but each Lead Plaintiff shall expressly and each Class Member, upon the
 5   Effective Date, shall be deemed to have, and by operation of the Judgment shall have, fully,
     finally, and forever settled and released any and all Released Claims, known or unknown,
 6   suspected or unsuspected, contingent or non-contingent, whether or not concealed or hidden,
     which now exist, or heretofore have existed, upon any theory of law or equity now existing or
 7   coming into existence in the future, including, but not limited to, conduct which is negligent,
     intentional, with or without malice, or a breach of any duty, law or rule, without regard to the
 8   subsequent discovery or existence of such different or additional facts. The Lead Plaintiff
     acknowledges, and the Class Members shall be deemed by operation of the Judgment to have
 9   acknowledged, that the foregoing waiver was separately bargained for and a key element of the
     settlement of which this release is a part.
10

11
                     EXCLUDING YOURSELF FROM THE SETTLEMENT
12
     If you do not want to be bound by the Judgment or recover money from the Settlement Fund, and
13   instead want to keep any claims you may have and any right you may have to sue the Defendants
     on your own about the legal issues in this case, then you must take steps to get out. This is called
14   excluding yourself from – or opting out of – the Class.
15

16     13.      How do I exclude myself from the Settlement?

17   If you do not wish to be included in the Class and you do not wish to participate in the proposed
     Settlement described in this Notice, you may request to be excluded. To do so, you must submit a
18   written request for exclusion that must be received on or before August 9, 2010 and must:
     (a) state the name, address, and telephone number of the Person(s) requesting exclusion;
19   (b) identify the Person’s purchases (or acquisitions) and sales of publicly traded Juniper securities
     made during the Class Period, including the dates of purchase, acquisition or sale, prices paid or
20   received, and the number of publicly traded securities purchased, acquired and/or sold; (c) include
     the Person’s signature; and (d) state that the Person wishes to be excluded from the Class. No
21   request will be considered valid unless all of the information described above is included in the
     request. The request must be addressed as follows:
22
                                      Juniper Securities Litigation
23                                    ______________________
                                      ______________________
24                                    ______________________

25   You cannot exclude yourself by phone or by e-mail.

26   If you ask to be excluded from the Class, you will not get any settlement payment or share
     in any future recovery from Ernst & Young. If you exclude yourself, you will not be legally
27   bound by anything that happens in these Actions. You might be able to sue (or continue to sue)
     Juniper and the other Defendants in the future about the claims in these Actions, but your claims
28   may not be timely, valid, or you may not prevail on the merits.

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 1
       14.      If I don’t exclude myself, can I sue the Defendants for the same things later?
 2
     No. Unless you exclude yourself, you give up any right to sue any of the Defendants about the
 3   claims that this Settlement resolves. If you have a pending lawsuit, speak to your lawyer in that
     case immediately. You must exclude yourself from this Class to continue or file any lawsuit
 4   alleging the same claims as are alleged herein. Remember, the exclusion deadline is August 9,
     2010. See also Question No. 12: “What am I giving up to get a payment or stay in the Class?”
 5

 6
       15.      If I exclude myself, can I get money from this Settlement?
 7

 8   NO. If you exclude yourself, you will not be entitled to receive any money from the Settlement
     Fund or any future recovery from Ernst & Young. If you exclude yourself, do not send in a Proof
 9   of Claim and Release form to ask for any money.

10

11                                THE LAWYERS REPRESENTING YOU
12     16.      Do I have a lawyer in this case?
13
     The Court appointed the law firm of Lowey Dannenberg Cohen & Hart, P.C. to represent you and
14   the other Class Members. This law firm is called Lead Counsel. You will not be individually
     charged for these lawyers. If you want to be represented by your own lawyer, you may hire one
15   at your own expense.

16   You can send any questions to Lead Counsel at Lowey Dannenberg Cohen & Hart, P.C., One
     North Broadway, Suite 509, White Plains, NY 10601-2310 (telephone: 914-997-0500; e-mail:
17   bhart@lowey.com or dharrison@lowey.com), or to the Claims Administrator at In re Juniper
     Securities Litigation, ____________________________________.
18

19
       17.      How will the lawyers be paid?
20

21   Lead Counsel will apply to the Court for attorneys’ fees of less than $9 million and for
     reimbursement of their out-of-pocket expenses not to exceed $865,000. These payments, if
22   approved, will reduce the amount to be divided among all Authorized Claimants by
     approximately $0.022 per damaged security. Such sums as may be approved by the Court will be
23   paid from the Settlement Fund. Class Members are not personally liable for any such fees or
     expenses.
24
     The attorneys’ fees and expenses requested will be the only payment to Lead Counsel for their
25   efforts in achieving this Settlement and for their risk in undertaking this representation on a
     wholly contingent basis. To date, Lead Counsel have not been paid anything for their services for
26   conducting this litigation on behalf of the Lead Plaintiff and the Class nor for their substantial
     out-of-pocket expenses. The fee requested was negotiated with Lead Plaintiff in connection with
27   Lead Counsel’s retention. The fee request amounts to 5.3% of the Settlement Fund, which is well
     within the range of fees often awarded to class counsel under similar circumstances in other cases
28   of this type, given the substantial risks undertaken by counsel of no payment. The fee request is


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 1   less than the amount of Lead Counsel’s time charges in the Actions. The Court may, however,
     award less than this amount in its discretion.
 2

 3
                                      THE COURT’S FAIRNESS HEARING
 4

 5     18.      When and where will the Court decide whether to approve the Settlement?

 6   The Court will hold a Fairness Hearing at 9:00 a.m. on August 30, 2010 before the Honorable
     James Ware, United States District Judge, at the United States District Court for the Northern
 7   District of California, United States Courthouse – 4th Floor, Courtroom 8, 280 South 1st Street,
     San Jose, California, 95113. At this hearing the Court will consider whether the Settlement, the
 8   Plan of Allocation, and the Application for Attorneys’ Fees and Reimbursement of Expenses are
     fair, reasonable, and adequate. If there are objections, the Court will hear them. The Court will
 9   listen to people who have made a written request to speak at the hearing.

10   The Court may reschedule the Fairness Hearing at any time, so if you plan to attend or participate,
     you should check with the Clerk of the Court to know whether there have been any changes of the
11   place, date and time for the hearing. You can also check the Court’s calendar on the internet by
     selecting Judge James Ware from the list of judges at www.cand.uscourts.gov.
12

13
       19.      Do I have to come to the Fairness Hearing?
14

15   No. Lead Counsel will answer questions the Judge may have. But you are welcome to come at
     your own expense, and the Court will give you the opportunity to be heard. If you send a written
16   objection, the Court will consider it. You don’t have to come to Court to talk about it. You may
     also pay your own lawyer to attend, but it’s not necessary. Information about sending a written
17   objection is provided below.

18

19                                    OBJECTING TO THE SETTLEMENT
20     20.      How do I tell the Court that I do not like the Settlement?
21
     If you are a Class Member and do not exclude yourself, you can object to the Settlement at the
22   Fairness Hearing if you do not like any part of it, including the terms and conditions of the
     Settlement, the Judgment to be entered approving the Settlement, the Plan of Allocation, or the
23   attorneys’ fees and expenses to be awarded to Lead Counsel. You can object in one of two ways:
     either send a written objection or attend the Fairness Hearing to object in person. You do not
24   have to do both.

25   All written objections must be sent no later than August 9, 2010, to the Court and counsel at the
     addresses listed below. The written objection is a statement saying that you object to the
26   Settlement in In re Juniper Networks, Inc. Securities Litigation, No. C 06-04327-JW (PVT) and
     New York City Employees’ Retirement System et al., v. Lisa C. Berry, No. C 08-0246-JW (PVT).
27   The objection should include (a) the full name, address and telephone number of the objecting
     Class Member, (b) the number of securities the Class Member purchased or sold from July 11,
28   2003 through August 10, 2006 and/or acquired in the NetScreen Merger; (c) the reasons for the

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 1   objection, signed by the Objecting Class Member of its counsel, and (d) advise the Court if the
     objecting Class Member intends to appear at the Fairness Hearing. If the objecting Class Member
 2   intends to appear at the Fairness Hearing through counsel, the objection should also state the
     identity of all attorneys who will appear at the Fairness Hearing.
 3
     Please send your objections to the Settlement to the following:
 4
                                      Court:
 5                                    Clerk of the Court
                                      United States District Court
 6                                    Northern District of California
                                      280 South 1st Street
 7                                    San Jose, CA 95113
 8                                    Lead Counsel for Lead Plaintiff and the Class:
                                      Barbara J. Hart
 9                                    David C. Harrison
                                      Lowey Dannenberg Cohen & Hart, P.C.
10                                    David C. Harrison
                                      One North Broadway, Suite 509
11                                    White Plains, NY 10601
12                                    Counsel for Juniper Defendants:
                                      Nina F. Locker
13                                    Steven Guggenheim
                                      Wilson Sonsini Goodrich & Rosati, P.C.
14                                    650 Page Mill Road
                                      Palo Alto, CA 94304
15
                                      Counsel for Lisa C. Berry:
16
                                      Melinda Haag
17                                    James Kramer
                                      Nancy E. Harris
18                                    Orrick, Herrington & Sutcliffe LLP
                                      405 Howard Street
19                                    San Francisco, CA 94105-2669
20   Even if you do not send a written objection on time, you can attend the Fairness Hearing
     described in question 18 above and talk to the judge about your objection.
21
     If you do not send a written objection on time or attend the Fairness Hearing, you cannot object
22   to the Settlement later. Any objections you might have will be waived.
23

24     21.      What’s the difference between objecting and excluding?

25   Objecting is simply telling the Court that you don’t like something about the Settlement, the Plan
     of Allocation, or the Application for Attorneys’ Fees and Reimbursement of Expenses.
26   Excluding yourself is telling the Court that you don’t want to be part of the Class. If you exclude
     yourself, you have no basis to object because the Settlement no longer affects you.
27

28

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 1                                          IF YOU DO NOTHING
 2
       22.      What happens if I do nothing at all?
 3
     If you do nothing, you will not receive any money from this Settlement, but the judgment of the
 4   Court will still be binding upon you. You must file a Proof of Claim and Release form to be
     eligible to receive anything from the Settlement. Also, unless you exclude yourself, you will be
 5   bound by the judgment and will have released the Released Claims against the Released Persons
     even if you do not file a Proof of Claim. This means you won’t be able to start a lawsuit,
 6   continue with a lawsuit, or be part of any other lawsuit against the Defendants relating to the
     Released Claims.
 7

 8
                                      OBTAINING MORE INFORMATION
 9
       23.      Are there more details about the Settlement?
10

11   This Notice summarizes the most important aspects of the proposed Settlement, but it is not a
     complete description of the Settlement. You can get a copy of the Stipulation of Settlement by
12   writing to Barbara J. Hart or David Harrison, Lowey Dannenberg Cohen & Hart, P.C., 1 North
     Broadway, Suite 509, White Plains, NY 10601-2310, tel.: (914) 997-0500, e-mail:
13   bhart@lowey.com or dharrison@lowey.com.

14   You can also call the Claims Administrator toll-free at [insert number], or contact it by mail or
     through its website at the address listed below in item no. 25 to find answers to common
15   questions about the Settlement and obtain information about the status of the Settlement approval
     process.
16
     You can also review a copy of the entire Stipulation of Settlement and other documents filed in
17   the Actions during normal business hours at the office of the Clerk of the Court, United States
     Courthouse, Northern District of California, 280 South 1st Street, San Jose, CA 95113 (refer to
18   case Nos. 06-04327 and 08-0246).

19

20                   PLEASE DO NOT CALL THE COURT OR THE
21
                    CLERK’S OFFICE ABOUT THIS SETTLEMENT.
22                                    SPECIAL NOTICE TO NOMINEES
23
       24.      Special Notice to Banks, Trustees, Brokerage Firms or Other Nominees
24
     If you hold publicly traded Juniper securities during the Class Period as nominee for a beneficial
25   owner, the Court has directed that within ten (10) days after you receive this Notice, you must
     either: (1) send a copy of this Notice and the Proof of Claim by first class mail to all such
26   Persons; or (2) provide a list of the names and addresses of such Persons to the Claims
     Administrator:
27
                                        Juniper Securities Litigation
28

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 1                                    c/o ______________________
                                      _________________________
 2                                    _________________________
                                      _________________________
 3                                    E-Mail: info@Junipersecuritiessettlement.com.
 4   If you choose to mail the Notice and Proof of Claim and Release form yourself, you may obtain
     from the Claims Administrator (without cost to you) as many additional copies of these
 5   documents as you will need to complete the mailing. Regardless of whether you choose to
     complete the mailing yourself or elect to have the mailing performed for you, you may obtain
 6   reimbursement for reasonable out-of-pocket expenses actually incurred in connection with
     forwarding the Notice and Proof of Claim and which would not have been incurred but for the
 7   obligation to forward the Notice and Proof of Claim, upon submission of appropriate
     documentation to the Claims Administrator (subject to further order of the Court with respect to
 8   any dispute concerning such reimbursement).
 9

10        UNDERSTANDING YOUR PAYMENT – THE PLAN OF ALLOCATION
11   Please note that the approval of the Settlement is separate from and not conditioned on the
     Court’s approval of the Plan of Allocation.
12
             The $169,000,000 Settlement Fund, less all taxes, approved costs, fees, and expenses (the
13   “Net Class Settlement Fund”), shall be distributed to Class Members (or the representative of
     such Class Members, including, without limitation, agents, administrators, executors, heirs,
14   predecessors, successors, affiliates (as defined in 17 C.F.R. Part 210.1-02.b) and assigns) who
     submit a Proof of Claim in such form and manner, and within such time, as the Court shall
15   prescribe that are allowed by the Court (“Authorized Claimants”).
16          The following proposed Plan of Allocation reflects the contention of the Class that
     because of Defendants’ misstatements and improper accounting for Juniper’s stock options and
17   financial condition, the prices of Juniper stock and Notes were inflated artificially during the
     Class Period (July 11, 2003 through August 10, 2006). Lead Plaintiff further contends that the
18   decrease in the prices of publicly traded Juniper securities resulted from disclosures of facts
     exposing Defendants’ prior misstatements and omissions.
19
            The Court has not made any finding that the Defendants are liable to the Class or that the
20   Class has suffered any compensable damages, nor has the Court made any finding as to the
     measure of damages.
21
             The Claims Administrator shall determine each Authorized Claimant’s pro rata share of
22   the Net Class Settlement Fund based upon each Authorized Claimant’s “Recognized Claim” from
     transactions on publicly traded Juniper securities during the entire Class Period. The Recognized
23   Claim formulas set forth below are not intended to be an estimate of the amount that a
     Class Member might have been able to recover after a trial; nor is the Recognized Claim an
24   estimate of the amount that will be paid to Authorized Claimants pursuant to the
     Settlement. The Recognized Claim formulas are the basis upon which the Net Class Settlement
25   Fund will be proportionately allocated to the Authorized Claimants.
26          An Authorized Claimant’s total “Recognized Claim” shall constitute the sum of such
     claimant’s “Recognized Claims” for each class of Juniper stock set forth below:
27
     I.       Juniper Common Stock Purchases or Acquisitions
28            A.    For shares of common stock purchased from July 11, 2003 through August 10,

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 1                      2006:
 2                      1.       For shares acquired in the NetScreen merger, the “purchase price” shall be
                                 $25.17, Juniper’s closing price on April 16, 2004, the date the merger was
 3                               completed.
 4                      2.       For shares held at the end of trading on November 8, 2006, the Recognized
                                 Loss shall be that number of shares multiplied by the lesser of:
 5                               a.     the applicable purchase date artificial inflation per share figure, as
                                        found in Table A below; or
 6
                                 b.     the difference between the purchase price per share and $16.01.2
 7
                        3.       For shares sold between May 18, 2006 and August 10, 2006,3 the
 8                               Recognized Loss shall be that number of shares multiplied by the lesser of:
 9                               a.     the applicable purchase artificial inflation per share figure less the
                                        applicable sales date artificial inflation per share figure, as found in
10                                      Table A; or
11                               b.     the difference between the purchase price per share and the sales
                                        price; or
12
                                 c.     the difference between the purchase price per share and $16.01.4
13
                        4.       For shares sold between August 11, 2006 and November 8, 2006, the
14                               Recognized Loss shall be the lesser of:
15                               a.     the applicable purchase date artificial inflation per share figure, as
                                        found in Table A; or
16
                                 b.     the difference between the purchase price per share and the average
17                                      sales price per share; or
18                               c.     the difference between the purchase price per share and the average
                                        closing price of Juniper common stock between August 11, 2006
19

20
     2
       Pursuant to Section 21(D)(e)(1) of the Private Securities Litigation Reform Act of 1995, “in any
21   private action arising under this title in which the plaintiff seeks to establish damages by reference
     to the market price of a security, the award of damages to the plaintiff shall not exceed the
22   difference between the purchase or sale price paid or received, as appropriate, by the plaintiff for
     the subject security and the mean trading price of that security during the 90-day period beginning
23   on the date on which the information correcting the misstatement or omission that is the basis for
     the action is disseminated.” $16.01 was the mean closing price of Juniper common stock during
24   the 90-day period beginning on August 11, 2006 and ending on November 8, 2006. This
     provision does not apply to shares acquired in the NetScreen merger, which shares are subject to
25   claims under Section 11 of the Securities Act of 1933.
     3
26     Pursuant to the Court’s order granting class certification, loss causation cannot be shown for
     Juniper shares purchased and sold prior to May 18, 2006, because May 18 was the first date that
27   questions about Juniper’s stock option practices were publicly disclosed. As a result, no
     Recognized Loss will be attributed to Juniper shares sold prior to May 18, 2006.
28   4
       This provision does not apply to shares acquired in the NetScreen merger.

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 1                                    and the date of sale.5
 2                                                             Table A
                                                                                     Estimated
 3                     Purchase or Sale Date Range                              Inflation per Share
 4                     07-11-2003 – 05-17-2006                                         $3.02
                       05-18-2006                                                      $2.37
 5                     05-19-2006 – 08-09-2006                                         $1.19
                       08-10-2006                                                      $0.62
 6
     II.      Juniper Zero Coupon Convertible Senior Notes Purchases
 7
            For Notes purchased between November 20, 2003 (the date the Notes were registered with
 8   the SEC) and May 17, 2006 and still held at the close of trading on May 17, 2006,6 and Notes
     purchased between May 18, 2006 and August 10, 2006, the Recognized Loss shall be:
 9
                     (a) if sold between May 18, 2006 and August 10, 2006, the lesser of (i) $25 per
10   $1,000 principal amount of Notes; or (ii) the difference between the purchase price per Note and
     the sale price per Note; or
11
                    (b) if held at the close of trading on August 10, 2006, the lesser of (i) $25 per
12   $1,000 principal amount of Notes; or (ii) if sold after August 10, 2006, the difference between the
     purchase price per Note and the sale price per Note; (iii) if converted to Juniper common stock
13   after August 10, 2006, the difference between the purchase price per Note and: (a) the price of
     Juniper common stock on the date of conversion multiplied by (b) the conversion rate of 49.6512
14   shares per each $1,000 principal amount of Notes; or (iv) if held to maturity, the difference
     between the purchase price per Note and $1,000.00.
15
     III.     Other Instructions and Guidelines Applicable to All
16            Recognized Claims and Classes of Juniper Stock and Notes
17           For Class Members who held publicly traded Juniper securities before the Class Period or
     made multiple purchases or sales during the Class Period, the first-in, first-out (“FIFO”) method
18   will be applied to such holdings, purchases and sales for purposes of calculating a Recognized
     Claim. Under the FIFO method, for each Juniper security, each sale of that Juniper security
19   during the Class Period will be matched, in chronological order, first against that Juniper Security
     held at the beginning of the Class Period. Such holdings and sales will be included in the
20   calculation of Recognized Claim as described above. For each security, the remaining sales of
     such security during the Class Period will then be matched, in chronological order, against
21
     5
22     Pursuant to Section 21(D)(e)(2) of the Private Securities Litigation Reform Act of 1995, “in any
     private action arising under this title in which the plaintiff seeks to establish damages by reference
23   to the market price of a security, if the plaintiff sells or repurchases the subject security prior to
     the expiration of the 90-day period described in paragraph (1), the plaintiff’s damages shall not
24   exceed the difference between the purchase or sale price paid or received, as appropriate, by the
     plaintiff for the subject security and the mean trading price of that security during the period
25   beginning immediately after dissemination of information correcting the misstatement or
     omission and ending on the date on which the plaintiff sells or repurchases the security.” This
26   provision does not apply to shares acquired in the NetScreen merger.
     6
       Pursuant to the Court’s order granting class certification, loss causation cannot be shown for
27   Juniper Notes purchased and sold prior to May 18, 2006, because May 18 was the first date that
     questions about Juniper’s stock option practices were publicly disclosed. As a result, no
28   Recognized Loss will be attributed to Juniper Notes sold prior to May 18, 2006.

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 1   purchases of such Juniper securities during the Class Period.
 2          A purchase or sale of Juniper securities shall be deemed to have occurred on the
     “contract” or “trade” date as opposed to the “settlement” or “payment” date.
 3
              The price per share paid or received should exclude all commissions, taxes and fees.
 4
              The following restrictions on computing Recognized Losses apply to all claims:
 5
              ●         “Short sales” will not be recognized for any amount of loss on the cover or
 6                      purchase transaction, and no Recognized Loss will be computed for any such
                        covering purchase transaction.
 7
              ●         No Recognized Loss will be computed for any transactions in Juniper common
 8                      stock engaged in by market makers.
 9            ●         No Recognized Loss will be computed for Juniper common stock or Notes sold
                        prior to May 18, 2006.
10
              ●         To the extent a Claimant had a gain from his, her, or its overall transactions in
11                      Juniper securities during the Class Period, the value of the Recognized Loss will
                        be zero.
12
              ●         To the extent a Claimant suffered an overall loss on his, her, or its overall
13                      transactions in Juniper securities during the Class Period, but that loss was less
                        than the Recognized Loss calculated above, then the Recognized Loss shall be
14                      limited to the amount of the actual loss.
15           The receipt or grant by gift, devise or operation of law of Juniper securities during the
     Class Period shall not be deemed a purchase, acquisition, disposition or sale of Juniper securities
16   for the calculation of an Authorized Claimant’s Recognized Claim, nor shall it be deemed an
     assignment of any claim relating to the purchase of such securities unless specifically provided in
17   the instrument of gift or assignment.
18           Each Authorized Claimant shall be allocated a pro rata share of the Net Class Settlement
     Fund based on his, her or its Recognized Claim compared to the Total Recognized Claims of all
19   Authorized Claimants. Each Authorized Claimant shall be paid an amount determined by
     multiplying the Net Class Settlement Fund by a fraction the numerator of which shall be his, her
20   or its “Recognized Claim” and the denominator of which shall be the Total Recognized Claims of
     all Authorized Claimants.
21
            The total recovery payable to Authorized Claimants from purchases of the Notes shall not
22   exceed one percent (1%) of the Net Class Settlement Fund.
23          Class Members who do not file acceptable Proofs of Claim will not share in the Net Class
     Settlement Fund. Class Members who do not submit an acceptable Proof of Claim will
24   nevertheless be bound by the Stipulation of Settlement and Final Judgment of the court
     dismissing these Actions.
25
             Bank drafts will be distributed to Authorized Claimants after the Effective Date of the
26   Settlement and after all claims have been processed. To the extent that any monies remain in the
     Class Notice and Administration Account or the Settlement Fund Escrow Account after the
27   Administrator has caused distributions to be made to all Authorized Claimants, whether by reason
     of un-cashed distributions or otherwise, then, after the Administrator has made reasonable and
28   diligent efforts to have Authorized Claimants cash their distributions, any balance remaining in

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 1   the Class Notice and Administration Account or the Settlement Fund Escrow Account one (1)
     year after the initial distribution of such funds shall be redistributed to Authorized Claimants who
 2   have cashed their initial distributions and who would receive at least $10.00 from such
     redistribution, after payment of any unpaid costs or fees incurred in administering the Class
 3   Notice and Administration Account or the Settlement Fund Escrow Account for such re-
     distribution. If six months after such redistribution, funds remain in the Class Notice and
 4   Administration Account or the Settlement Fund Escrow Account, then such funds shall be further
     redistributed to Authorized Claimants who have cashed their most recent redistribution and who
 5   would receive at least $10.00 from such further redistribution, after payment of any unpaid costs
     or fees incurred in administering the Class Notice and Administration Account or the Settlement
 6   Fund Escrow Account for such redistribution. The redistributions shall continue until it becomes
     economically unfeasible to continue redistributions based upon the costs associated with such
 7   redistributions, after which Lead Plaintiff’s Counsel shall file a motion seeking an order to donate
     the remaining funds to an appropriate 501(c)(3) charitable organization selected by Lead Plaintiff
 8   through its counsel and agreed to by Defendants.
 9          No Authorized Claimant will have any claim against Lead Plaintiff, Lead Plaintiff’s Lead
     Counsel or the Claims Administrator, or any other agent designated by Lead Plaintiff’s Lead
10   Counsel based on the distributions made substantially in accordance with the Stipulation, the Plan
     of Allocation or further orders of the Court.
11
            No distributions or redistributions shall be made to any Authorized Claimant who would
12   receive $10.00 or less based on the initial allocation of the Net Class Settlement Fund.
13        The Court has reserved jurisdiction to allow, disallow, or adjust the claim of any Class
     Member on equitable grounds.
14

15
     Date: ____________                           THE HONORABLE JAMES J. WARE
16                                                Judge, United States District Court for
                                                    the Northern District of California
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     NOTICE OF CLASS ACTION CERTIFICATION, PROPOSED SETTLEMENT, MOTION FOR ATTORNEYS’ FEES AND
     EXPENSES AND HEARING THEREON – CASE NOS. C06-04327-JW (PVT) AND C08-0246-JW (PVT)                20
     {1064 / NOT / 00100756.DOC V2}
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     Exhibit A-2
 1   BARBARA HART (pro hac vice)
     DAVID C. HARRISON (pro hac vice)
 2   JEANNE D’ESPOSITO (pro hac vice)
     LOWEY DANNENBERG COHEN & HART, P.C.
 3   One North Broadway, Suite 509
     White Plains, NY 10601-2310
 4   Telephone: 914-997-0500
     Facsimile: 914-997-0035
 5
     Lead Counsel for the New York City Pension Funds and the Class
 6
     WILLEM F. JONCKHEER S.B.N. 178748
 7   DUSTIN L. SCHUBERT S.B.N. 254876
     SCHUBERT JONCKHEER KOLBE & KRALOWEC LLP
 8   Three Embarcadero Center, Suite 1650
     San Francisco, CA 94111
 9   Telephone: 415-788-4220
     Facsimile: 415-778-0160
10
     Local Counsel
11
     MICHAEL A. CARDOZO
12   Corporation Counsel of the City of New York
     Carolyn Wolpert
13   100 Church Street
     New York, NY 10007
14   Telephone: 212-788-0748

15   Attorneys for the New York City Pension Funds

16
                                        UNITED STATES DISTRICT COURT
17                                     NORTHERN DISTRICT OF CALIFORNIA
                                              SAN JOSE DIVISION
18

19                                                                 No. C06-04327-JW (PVT)
     IN RE JUNIPER NETWORKS, INC.
20   SECURITIES LITIGATION                                         PROOF OF CLAIM AND RELEASE
21

22   THE NEW YORK CITY EMPLOYEES’                                  No. C08-0246-JW (PVT)
     RETIREMENT SYSTEM, et al.,
23
                                                 Lead Plaintiff,
24                                                                 EXHIBIT A-2
                                 v.
25
     LISA C. BERRY,
26
                                                 Defendant.
27

28
     {1964 / MISC / 00100715.DOC V2}PROOF OF   CLAIM AND RELEASE – CASE NOS. C06-04327-JW (PVT)
     AND C08-0246-JW (PVT)

     {1964 / MISC / 00100715.DOC v1}
 1   I.       GENERAL INSTRUCTIONS
 2            1.        To recover as a Member of the Class based on your claims in the actions entitled

 3   In re Juniper Networks, Inc. Securities Litigation, Case No. C -06-04327 JW and the New York

 4   City Employees’ Retirement System v. Lisa C. Berry, Case No. C 08-0246 JW (collectively the

 5   “Actions”), you must complete and, on page _____ hereof, sign this Proof of Claim and Release,

 6   and mail it as set forth in paragraph 3 below. If you fail to timely file a properly addressed (as set

 7   forth in paragraph 3 below) Proof of Claim and Release, your claim may be rejected and you may

 8   be precluded from any recovery from the Settlement Fund created in connection with the

 9   proposed settlement of the Actions.

10            2.        Submission of this Proof of Claim and Release, however, does not assure that you

11   will share in the proceeds of settlement in the Actions.

12            3.        YOU MUST MAIL YOUR COMPLETED AND SIGNED PROOF OF

13   CLAIM AND RELEASE POSTMARKED ON OR BEFORE SEPTEMBER 10, 2010,

14   ADDRESSED AS FOLLOWS:

15                      Juniper Networks, Inc. Securities Litigation
                        _________________
16                      [CITY, STATE, ZIP]
17            A.        If you are NOT a Member of the Class (as defined in the “Notice of Class Action

18   Certification, Proposed Partial Settlement, Motion for Attorneys’ Fees and Expenses and Hearing

19   Thereon”) DO NOT submit a Proof of Claim and Release form.

20            4.        If you are a Member of the Class, and you do not timely and validly request

21   exclusion, you are bound by the terms of any judgment entered in the Actions, WHETHER OR

22   NOT YOU SUBMIT A PROOF OF CLAIM AND RELEASE.

23   II.      DEFINITIONS
24            Capitalized terms are defined in the Notice of Class Action Certification, Proposed Partial

25   Settlement, Motion for Attorneys’ Fees and Expenses and Hearing Thereon.

26   III.     CLAIMANT IDENTIFICATION
27            1.        If you purchased or acquired Juniper Networks, Inc. (“Juniper”) publicly traded

28   securities (i.e., common stock or zero coupon convertible senior notes due June 15, 2008) (the
     PROOF OF CLAIM AND RELEASE – CASE NOS. C06-04327-JW (PVT) AND C08-0246-JW
     (PVT)                                                                                                 1
     {1964 / MISC / 00100715.DOC v1}
 1
     “Notes”), and held the certificate(s) in your name, you are the beneficial purchaser as well as the
 2
     record purchaser. If, however, the certificate(s) were registered in the name of a third party, such
 3
     as a nominee or brokerage firm, you are the beneficial purchaser and the third party is the record
 4
     purchaser.
 5
              2.        Use Part I of this form entitled “Claimant Identification” to identify each purchaser
 6
     of record (“nominee”), if different from the beneficial purchaser of Juniper securities which form
 7
     the basis of this claim. THIS CLAIM MUST BE FILED BY THE ACTUAL BENEFICIAL
 8
     PURCHASER OR PURCHASERS, OR THE LEGAL REPRESENTATIVE OF SUCH
 9
     PURCHASER OR PURCHASERS, OF THE JUNIPER SECURITIES UPON WHICH THIS
10
     CLAIM IS BASED.
11
              3.        All joint purchasers must sign this Proof of Claim and Release form. Executors,
12
     administrators, guardians, conservators and trustees must complete and sign this claim on behalf
13
     of Persons represented by them and their authority must accompany this claim and their titles or
14
     capacities must be stated. The Social Security (or taxpayer identification) number and telephone
15
     number of the beneficial owner may be used in verifying the claim. Failure to provide the
16
     foregoing information could delay verification of your claim or result in rejection of the claim.
17
     IV.      CLAIM FORM
18
              1.        Use Part II of this form entitled “Schedule of Transactions in Juniper Securities” to
19
     supply all required details of your transaction(s) in Juniper securities. If you need more space or
20
     additional schedules, attach separate sheets giving all of the required information in substantially
21
     the same form. Sign and print or type your name on each additional sheet.
22
              2.        On the schedules, provide all of the requested information with respect to (a) all of
23
     your purchases or acquisitions and all of your sales of publicly traded Juniper securities which
24
     took place at any time from July 11, 2003 through August 10, 2006, inclusive (the “Class
25
     Period”); and (b) all shares of Juniper common stock you received following Juniper’s merger
26
     with NetScreen Technologies, Inc. (“NetScreen”), effective as of April 16, 2004. Failure to
27
     report all such transactions may result in the rejection of your claim.
28
     PROOF OF CLAIM AND RELEASE – CASE NOS. C06-04327-JW (PVT) AND C08-0246-JW
     (PVT)                                                                                                  2
     {1964 / MISC / 00100715.DOC v1}
 1
              3.        List each transaction in the Class Period separately and in chronological order, by
 2
     trade date, beginning with the earliest. You must accurately provide the month, day and year of
 3
     each transaction you list. You must also provide your beginning position prior to the open of
 4
     trading on July 11, 2003, and your closing position as of August 10, 2006, and whether you still
 5
     hold such position.
 6
              4.        The date of covering a “short sale” is deemed to be the date of purchase of Juniper
 7
     securities. The date of a “short sale” is deemed to be the date of sale of Juniper securities.
 8
              5.        Broker confirmations or other documentation of your transactions in Juniper
 9
     securities must be attached to your claim. Failure to provide this documentation could delay
10
     verification of your claim or result in rejection of your claim. Certain Claimants with a large
11
     number of transactions, such as institutional holders, may ask (or be asked) to submit claim
12
     information in an electronic format. The Claims Administrator will decide when electronic filing
13
     of information will be authorized. In these cases, all Claimants must still submit a manually
14
     signed paper Proof of Claim form. The Proof of Claim form must list all the data and
15
     transactions, whether or not they are also submitted electronically. Only electronic files
16
     authorized by the Claims Administrator will be considered properly submitted. The Claims
17
     Administrator will issue a written acknowledgement of receipt and acceptance of electronically
18
     submitted data to the Claimant.
19
              6.        A purchase or sale of Juniper common stock shall be deemed to have occurred on
20
     the “contract” or “trade” date as opposed to the “settlement” or “payment” date; please provide
21
     only “contract” or “trade” dates in your claim.
22

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     PROOF OF CLAIM AND RELEASE – CASE NOS. C06-04327-JW (PVT) AND C08-0246-JW
     (PVT)                                                                                                    3
     {1964 / MISC / 00100715.DOC v1}
 1                                      UNITED STATES DISTRICT COURT
 2                                     NORTHERN DISTRICT OF CALIFORNIA
 3                             In re Juniper Networks, Inc. Securities Litigation
                                        Master File No. C-06-04327 JW
 4                   The New York City Employees’ Retirement System, et al. v. Lisa C. Berry
                                              No. C-08-0246 JW
 5
                                         PROOF OF CLAIM AND RELEASE
 6
                                          Must be Postmarked on or Before:
 7                                              September 10, 2010
 8                                              Please Type or Print
 9   PART I:            CLAIMANT IDENTIFICATION
10
     Beneficial Owner’s Name (First, Middle, Last)
11
     Street Address
12

13   City                                                        State or Province

14   Zip Code or Postal Code                                    Country
15
     Social Security Number or                                          Individual
16   Taxpayer Identification Number                                     Corporation/Other

17   Area Code                                  Telephone Number (work)
18
     Area Code                                  Telephone Number (home)
19
     Record Owner’s Name (if different from beneficial owner listed above)
20

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     PROOF OF CLAIM AND RELEASE – CASE NOS. C06-04327-JW (PVT) AND C08-0246-JW
     (PVT)                                                                                     4
     {1964 / MISC / 00100715.DOC v1}
 1   PART II:            SCHEDULE OF TRANSACTIONS IN JUNIPER COMMON STOCK
 2          YOU MUST SUBMIT DOCUMENTATION SUPPORTING THE INFORMATION BELOW

 3   A. Number of shares of Juniper publicly traded common stock held at the beginning of trading on
        July 11, 2003 (if none, write “0”; if other than zero, documentation must be provided):
 4
     B. PURCHASES: Below please list (in chronological order) all purchases of Juniper common stock (not
 5      acquisitions) made between July 11, 2003 and August 10, 2006, inclusive.

 6
                                       Number of Shares of                                Aggregate Cost
            Date(s) of Purchase          Common Stock          Purchase Price per    (excluding commissions,
 7          (Month/Day/Year)               Purchased         Share of Common Stock        taxes, and fees)

 8
                / /                                                       .                        .
 9

10              / /                                                       .                        .
11
                / /                                                       .                        .
12

13              / /                                                       .                        .
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                / /                                                       .                        .
16              / /                                                       .                        .
17

18
                / /                                                       .                        .
19
     C. NUMBER OF JUNIPER SHARES RECEIVED/ACQUIRED in exchange for shares of NetScreen
20   in Juniper Networks’ merger with NetScreen, effective as of April 16, 2004:

21

22

23
     D. NUMBER OF JUNIPER SHARES RECEIVED/ACQUIRED through conversion of Notes on or
24   after November 20, 2003:

25

26

27

28
     PROOF OF CLAIM AND RELEASE – CASE NOS. C06-04327-JW (PVT) AND C08-0246-JW
     (PVT)                                                                                                     5
     {1964 / MISC / 00100715.DOC v1}
 1   E. SALES: Below please list (in chronological order) all sales of Juniper common stock made between
        July 11, 2003 and August 10, 2006, inclusive.
 2

 3          YOU MUST SUBMIT DOCUMENTATION SUPPORTING THE INFORMATION BELOW

 4

 5                                                                                        Amount Received
              Date(s) of Sales         Number of Shares of        Sale Price per     (net of commissions, taxes,
             (Month/Day/Year)          Common Stock Sold     Share of Common Stock             and fees)
 6

 7               / /                                                      .                           .
 8
                 / /                                                      .                           .
 9

10               / /                                                      .                           .
11
                 / /                                                      .
12                                                                                                    .


13               / /                                                      .                           .
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                 / /                                                      .                           .
16               / /                                                      .                           .
17

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19   F. ENDING HOLDINGS: At the close of business on August 10, 2006, I owned _______________
        shares of Juniper common stock.
20

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     PROOF OF CLAIM AND RELEASE – CASE NOS. C06-04327-JW (PVT) AND C08-0246-JW
     (PVT)                                                                                                         6
     {1964 / MISC / 00100715.DOC v1}
 1   PART III:           SCHEDULE OF TRANSACTIONS IN JUNIPER ZERO COUPON
                         CONVERTIBLE SENIOR NOTES
 2
            YOU MUST SUBMIT DOCUMENTATION SUPPORTING THE INFORMATION BELOW
 3

 4   A. PURCHASES: Below please list (in chronological order) all purchases of Juniper Zero Coupon
        Convertible Senior Notes (not acquisitions) made between November 20, 2003 and August 10, 2006,
 5      inclusive.

 6
                                       $ Face Amount of
                                         Zero Coupon                                   Aggregate Cost
 7          Date(s) of Purchase        Convertible Senior    Purchase Price per   (excluding commissions,
            (Month/Day/Year)            Notes Purchased     $1,000 Face Amount         taxes, and fees)
 8

 9              / /                                                     .                       .
10
                / /                                                     .                       .
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12              / /                                                     .                       .
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                / /                                                     .                       .
14

15              / /                                                     .                       .
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                / /                                                     .                       .
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18              / /                                                     .                       .
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     PROOF OF CLAIM AND RELEASE – CASE NOS. C06-04327-JW (PVT) AND C08-0246-JW
     (PVT)                                                                                                  7
     {1964 / MISC / 00100715.DOC v1}
 1   B. SALES: Below please list (in chronological order) all sales of Juniper Zero Coupon Convertible
        Senior Notes after November 20, 2003.
 2
            YOU MUST SUBMIT DOCUMENTATION SUPPORTING THE INFORMATION BELOW
 3

 4                                     $ Face Amount of
                                         Zero Coupon                                     Amount Received
              Date(s) of Sales         Convertible Senior      Sale Price per       (net of commissions, taxes,
 5           (Month/Day/Year)             Notes Sold        $1,000 Face Amount                and fees)

 6
                 / /                                                    .                            .
 7

 8               / /                                                    .                            .
 9
                 / /                                                    .                            .
10

11               / /                                                    .                            .

12
                 / /                                                    .                            .
13

14               / /                                                    .                            .
15
                 / /                                                    .                            .
16

17

18   C. END OF CLASS PERIOD HOLDINGS: At the close of business on August 10, 2006, I owned
        $_______________ face amount of Juniper Zero Coupon Convertible Senior Notes.
19

20   D. NOTES HELD TO MATURITY _______. I owned $_____ face amount of Juniper zero coupon
        convertible Senior Notes as of their maturity date of June 15, 2008.
21

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     PROOF OF CLAIM AND RELEASE – CASE NOS. C06-04327-JW (PVT) AND C08-0246-JW
     (PVT)                                                                                                        8
     {1964 / MISC / 00100715.DOC v1}
 1   IV.      SUBMISSION TO JURISDICTION OF COURT AND ACKNOWLEDGMENTS
 2            I (We) submit this Proof of Claim and Release under the terms of the Stipulation of

 3   Settlement described in the Notice. I (We) also submit to the jurisdiction of the United States

 4   District Court for the Northern District of California, with respect to my (our) claim as a Class

 5   Member(s) and for purposes of enforcing the release set forth herein. I (We) further acknowledge

 6   that I am (we are) bound by and subject to the terms of any Judgment that may be entered in the

 7   Actions. I (We) agree to furnish additional information to the Settlement Administrator to

 8   support this claim if required to do so. I (We) have not submitted any other claim covering the

 9   same purchases, acquisitions or sales of Juniper securities during the Class Period and know of no

10   other Person having done so on my (our) behalf.

11   V.       RELEASE
12            1.        I (We) hereby acknowledge full and complete satisfaction of, and do hereby fully,

13   finally and forever settle, release and discharge from the Released Claims each and all of the

14   Released Persons and each and all of their “Related Parties,” defined as each of a Defendant’s

15   past or present family members, heirs, executors, administrators, subsidiaries, parents, successors

16   and predecessors, officers, directors, shareholders (excepting Class Members), partners, agents,

17   employees, attorneys, insurers and any person, firm, trust, corporation, officer, director, or other

18   individual or entity in which any Defendant has a controlling interest or which is related to or

19   affiliated with any of the Defendants, and the legal representatives, heirs, successors in interest, or

20   assigns of the Defendants.

21            2.        “Released Claims” means any and all rights, demands, claims (including

22   “Unknown Claims” as defined below) and causes of action of every nature and description, in law

23   or equity, whether arising under federal, state, local, statutory or common law, foreign law, or

24   other law, or other law, rule or regulation, whether fixed or contingent, liquidated or unliquidated,

25   matured or un-matured, accrued or unaccrued and whether known or unknown that Lead Plaintiff

26   or any member of the Class asserted, or could have asserted in the Actions or in any other action

27   or forum against the Released Persons arising out of, relating to, directly or indirectly, or in

28   connection with the purchase, or purchase and sale, or acquisition of Juniper securities during the
     PROOF OF CLAIM AND RELEASE – CASE NOS. C06-04327-JW (PVT) AND C08-0246-JW
     (PVT)                                                                                                  9
     {1964 / MISC / 00100715.DOC v1}
 1
     Class Period, and the facts, matters, allegations, transactions, events, disclosures, statements, acts
 2
     or omissions which were alleged or could have been alleged in the Actions. For the avoidance of
 3
     doubt, “Settled Class Claims” or “Released Claims” shall not include those Unreleased and
 4
     Assigned Claims as defined in the Stipulation of Settlement dated August 11, 2008 in In re
 5
     Juniper Derivative Action, No. 5:06-cv-03396-JW (N.D. Cal.) and In re Juniper Networks, Inc.
 6
     Derivative Litigation, Lead Case No. 1:06CV064294 (Superior Court of California, Santa Clara
 7
     County), which was approved by court orders in both of those cases. Nothing herein is intended
 8
     to release any claims against Ernst & Young LLP.
 9
              3.        “Unknown Claims” means all claims, demands, liabilities, and causes of action of
10
     every nature and description which the Lead Plaintiff or any Class Member does not know or
11
     suspect to exist in his, her or its favor at the time of the release of the Released Persons which, if
12
     known by him, her or it, might have affected his, her or its settlement with and release of the
13
     Released Persons, or might have affected his, her or its decision not to object to or to seek
14
     exclusion from this Settlement. With respect to any and all Released Claims, the Settling Parties
15
     stipulate and agree that, upon the Effective Date, the Lead Plaintiff shall expressly waive, and
16
     each of the Class Members shall be deemed to have and by operation of the Judgment shall have
17
     expressly waived, the provisions, rights and benefits conferred by any law of any state or territory
18
     of the United States, or principle of common law, which is similar, comparable or equivalent to
19
     California Civil Code § 1542, which provides:
20
                        A general release does not extend to claims which the creditor does
21                      not know or suspect to exist in his or her favor at the time of
                        executing the release, which if known by him or her must have
22                      materially affected his or her settlement with the debtor.
23   The Lead Plaintiff and Class Members may hereafter discover facts in addition to or different

24   from those which he, she or it now knows or believes to be true with respect to the subject matter

25   of the Released Claims, but each Lead Plaintiff shall expressly and each Class Member, upon the

26   Effective Date, shall be deemed to have, and by operation of the Judgment shall have, fully,

27   finally, and forever settled and released any and all Released Claims, known or unknown,

28   suspected or unsuspected, contingent or non-contingent, whether or not concealed or hidden,
     PROOF OF CLAIM AND RELEASE – CASE NOS. C06-04327-JW (PVT) AND C08-0246-JW
     (PVT)                                                                                                10
     {1964 / MISC / 00100715.DOC v1}
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     which now exist, or heretofore have existed, upon any theory of law or equity now existing or
 2
     coming into existence in the future, including, but not limited to, conduct which is negligent,
 3
     intentional, with or without malice, or a breach of any duty, law or rule, without regard to the
 4
     subsequent discovery or existence of such different or additional facts. The Lead Plaintiff
 5
     acknowledges, and the Class Members shall be deemed by operation of the Judgment to have
 6
     acknowledged, that the foregoing waiver was separately bargained for and a key element of the
 7
     settlement of which this release is a part.
 8
              4.        This release shall only be in force when the Court approves the Stipulation of
 9
     Settlement dated _____ and the Stipulation becomes effective on the Effective Date (as defined in
10
     the Stipulation).
11
              5.        I (We) hereby warrant and represent that I (we) have not assigned or transferred or
12
     purported to assign or transfer, voluntarily or involuntarily, any matter released pursuant to this
13
     release or any other part or portion thereof.
14
              6.        I (We) hereby warrant and represent that I (we) have included information about
15
     all of my (our) transactions in Juniper securities which occurred during the Class Period as well
16
     as the number of shares of Juniper securities (or, in the case of the Juniper Zero Coupon
17
     Convertible Senior Notes, the face amount) held by me (us) at the close of trading on August 10,
18
     2006.
19

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     PROOF OF CLAIM AND RELEASE – CASE NOS. C06-04327-JW (PVT) AND C08-0246-JW
     (PVT)                                                                                                 11
     {1964 / MISC / 00100715.DOC v1}
 1                                            SUBSTITUTE FORM W-9
 2                    Request for Taxpayer Identification Number (“TIN”) and Certification
 3                                                        PART I
 4   NAME:

 5   Check appropriate box:

 6            Individual/Sole Proprietor                                  Pension Plan

 7            Corporation                 Partnership            Trust

 8            IRA                Other

 9            Enter TIN on appropriate line.
10            For individuals, this is your social security number (“SSN”).
11            For sole proprietors, you must enter your individual name, but you may also enter your
12            business or “doing business as” name. You may enter either your SSN or your Employer
              Identification Number (“EIN”).
13
            For other entities, it is your EIN.
14   __ __ __ - __ __ - __ __ __ __             or                       __ __ - __ __ __ __
     Social Security Number                                              Employer Identification Number
15

16                                                        PART II

17                                     For Payees Exempt from Backup Withholding

18   If you are exempt from backup withholding, enter your correct TIN in Part I and write “exempt”
     on the following line:
19
                                                         PART III
20
                                                        Certification
21
     UNDER THE PENALTY OF PERJURY, I (WE) CERTIFY THAT:
22
     1.       The number shown on this form is my correct TIN; and
23
     2.      I (We) certify that I am (we are) NOT subject to backup withholding under the provisions
24   of Section 3406 (a)(1)(C) of the Internal Revenue Code because: (a) I am (we are) exempt from
     backup withholding; or (b) I (we) have not been notified by the Internal Revenue Service that I
25   am (we are) subject to backup withholding as a result of a failure to report all interest or
     dividends; or (c) the Internal Revenue Service has notified me (us) that I am (we are) no longer
26   subject to backup withholding.

27   NOTE: If you have been notified by the Internal Revenue Service that you are subject to backup
     withholding, you must cross out Item 2 above.
28
     PROOF OF CLAIM AND RELEASE – CASE NOS. C06-04327-JW (PVT) AND C08-0246-JW
     (PVT)                                                                                                12
     {1964 / MISC / 00100715.DOC v1}
 1                                     SEE ENCLOSED FORM W-9 INSTRUCTIONS
 2            The Internal Revenue Service does not require your consent to any provision of this

 3   document other than the certification required to avoid backup withholding.

 4            I declare under penalty of perjury under the laws of the United States of America that the

 5   foregoing information supplied by the undersigned is true and correct.

 6            Executed this ____ day of __________________________________ (Month / Year)

 7   in ___________________________ (City), ___________________________ (State / Country).

 8

 9

10                                                    (Sign your name here)
11

12                                                    (Type or print your name here)
13

14                                                    (Capacity of person(s) signing, e.g., Beneficial
                                                      Purchaser, Executor or Administrator)
15

16                               ACCURATE CLAIMS PROCESSING TAKES A
                                     SIGNIFICANT AMOUNT OF TIME.
17                                  THANK YOU FOR YOUR PATIENCE.
18   Reminder Checklist:

19            1.        Please sign the above release and declaration. If this claim is being made on
                        behalf of joint Claimants, both must sign.
20
              2.        Remember to attach supporting documentation.
21
              3.        Do not send original stock certificates or other original documentation; please send
22                      only copies.
23            4.        Keep a copy of your claim form for your records.
24            5.        If you desire an acknowledgment of receipt of your claim form, please send it
                        Certified Mail, Return Receipt Requested.
25
              6.        If you move, please inform the Claims Administrator of your new address.
26
          THE CLAIM FORM AND YOUR SUPPORTING DOCUMENTATION MUST BE
27                POSTMARKED NO LATER THAN SEPTEMBER 10, 2010.
28
     PROOF OF CLAIM AND RELEASE – CASE NOS. C06-04327-JW (PVT) AND C08-0246-JW
     (PVT)                                                                                               13
     {1964 / MISC / 00100715.DOC v1}
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     Exhibit A-3
 1   BARBARA HART (pro hac vice)
     DAVID C. HARRISON (pro hac vice)
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     White Plains, NY 10601-2310
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     Local Counsel
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     Carolyn Wolpert
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     New York, NY 10007
14   Telephone: 212-788-0748
15   Attorneys for the New York City Pension Funds
16
                                        UNITED STATES DISTRICT COURT
17                                     NORTHERN DISTRICT OF CALIFORNIA
18                                            SAN JOSE DIVISION

19                                                                No. C06-04327-JW (PVT)
     IN RE JUNIPER NETWORKS, INC.
20   SECURITIES LITIGATION                                        SUMMARY NOTICE
21

22   THE NEW YORK CITY EMPLOYEES’                                 No. C08-0246-JW (PVT)
     RETIREMENT SYSTEM, et al.,
23
                                                Lead Plaintiff,
24                                                                EXHIBIT A-3
                                  v.
25
     LISA C. BERRY,
26
                                                Defendant.
27

28
     {1964 / MISC / 00100746.DOC V4}SUMMARY   NOTICE – CASE NOS. C06-04327-JW (PVT) AND C08-0246-
     JW (PVT)
     {1964 / MISC / 00100746.DOC V3}
 1   TO:      ALL PERSONS WHO PURCHASED OR OTHERWISE ACQUIRED PUBLICLY
              TRADED SECURITIES OF JUNIPER NETWORKS, INC. (“JUNIPER” OR THE
 2            “COMPANY”) FROM JULY 11, 2003 THROUGH AUGUST 10, 2006, INCLUSIVE,
              AND WHO DID NOT SELL SUCH SECURITIES BEFORE MAY 18, 2006, AND
 3            WERE DAMAGED, INCLUDING (A) THOSE WHO RECEIVED OR ACQUIRED
              JUNIPER COMMON STOCK ISSUED PURSUANT TO A REGISTRATION
 4            STATEMENT ON SEC FORM S-4, DATED MARCH 10, 2004, FOR THE
              COMPANY’S MERGER WITH NETSCREEN TECHNOLOGIES INC.; AND
 5            (B) PURCHASERS OF ZERO COUPON CONVERTIBLE SENIOR NOTES DUE
              JUNE 15, 2008 ISSUED PURSUANT TO A REGISTRATON STATEMENT ON SEC
 6            FORM S-3, DATED NOVEMBER 20, 2003:
 7            YOU ARE HEREBY NOTIFIED, pursuant to an Order of the United States District Court
 8   for the Northern District of California, that a hearing will be held on August 30, 2010, at 9:00
 9   a.m., before the Honorable James Ware at the United States Courthouse, 4th Floor, Courtroom 8,
10   280 South 1st Street, San Jose, California, for the purpose of determining (1) whether the
11   proposed settlement of the claims against Juniper and certain of its former and current officers
12   and/or directors (collectively, the “Defendants”) in the above-referenced litigations (the
13   “Actions”) for the principal amount of $169,000,000, plus accrued interest, should be approved
14   by the Court as fair, reasonable and adequate; (2) whether a Final Judgment and Order of
15   Dismissal with Prejudice should be entered by the Court dismissing the claims against the
16   Defendants in the Actions with prejudice; (3) whether the Plan of Allocation is fair, reasonable
17   and adequate and therefore should be approved; and (4) whether the application of Plaintiff’s
18   Lead Counsel for the payment of attorneys’ fees and reimbursement of expenses and the Lead
19   Plaintiff’s expenses incurred in connection with these Actions should be approved.
20            If you purchased or acquired Juniper publicly traded securities during the period July 11,
21   2003 through August 10, 2006, and did not sell such securities prior to May 18, 2006, including
22   (a) receiving Juniper common stock pursuant to the merger with NetScreen Technologies, Inc.,
23   and/or (b) purchasing Zero Coupon Convertible Senior Notes due June 15, 2008, your rights may
24   be affected by the settlement of these Actions. If you have not received a detailed Notice of Class
25   Action Certification, Proposed Partial Settlement, Motion for Attorneys’ Fees and Expenses and
26   Hearing Thereon (“Notice”) and a copy of the Proof of Claim and Release, you should obtain
27   copies by writing to Juniper Networks, Inc. Securities Litigation, c/o _____________, P.O. Box
28
     SUMMARY NOTICE – CASE NOS. C06-04327-JW (PVT) AND C08-0246-JW (PVT)
                                                                                {1964 / MISC / 00100746.DOC v4}1

     {1964 / MISC / 00100746.DOC v3}
 1
     ___________, [CITY/STATE/ZIPCODE/ toll free number], or on the internet at
 2
     www.____________.com. The Notice contains details about this litigation and settlement,
 3
     including what you must do to exclude yourself from the settlement, object to the terms of the
 4
     settlement, or file a Proof of Claim. If you are a Class Member, in order to share in the
 5
     distribution of the Settlement Fund, you must submit a Proof of Claim and Release postmarked
 6
     no later than September 10, 2010, establishing that you are entitled to recovery.
 7
              If you desire to be excluded from the Class, you must submit a Request for Exclusion to
 8
     be received by August 9, 2010, in the manner and form explained in the detailed Notice referred
 9
     to above. All Members of the Class who have not timely and validly requested exclusion from
10
     the Class will be bound by any Judgment entered in the Actions pursuant to the Stipulation of
11
     Settlement.
12
              Any objection to the settlement must be received by the parties listed below no later than
13
     August 2, 2010:
14
                                       Court:
15
                                       Clerk of the Court
16                                     United States District Court
                                       Northern District of California
17                                     280 South 1st Street
                                       San Jose, CA 95113
18
                                       Lead Counsel for Lead Plaintiff and the Class:
19
                                       Barbara J. Hart
20                                     David C. Harrison
                                       Lowey Dannenberg Cohen & Hart, P.C.
21                                     David C. Harrison
                                       One North Broadway, Suite 509
22                                     White Plains, NY 10601
23                                     Counsel for Juniper Defendants:
24
                                       Nina F. Locker
25                                     Steven Guggenheim
                                       Wilson Sonsini Goodrich & Rosati, P.C.
26                                     650 Page Mill Road
                                       Palo Alto, CA 94304
27

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     SUMMARY NOTICE – CASE NOS. C06-04327-JW (PVT) AND C08-0246-JW (PVT)
                                                                                    {1964 / MISC / 00100746.DOC v4}2

     {1964 / MISC / 00100746.DOC v3}
 1                                     Counsel for Lisa C. Berry:
 2                                     Melinda Haag
 3                                     James N. Kramer
                                       Nancy E. Harris
 4                                     Orrick, Herrington & Sutcliffe LLP
                                       405 Howard Street
 5                                     San Francisco, CA 94105-2669
 6            PLEASE DO NOT CONTACT THE COURT OR THE CLERK’S OFFICE
 7   REGARDING THIS NOTICE. If you have any questions about the settlement, you may
 8   contact the Claims Administrator or Plaintiff’s Lead Counsel at the address listed above.
 9

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11   Dated: April ____, 2010                                 BY ORDER OF THE COURT
                                                             UNITED STATES DISTRICT COURT
12                                                           NORTHERN DISTRICT OF CALIFORNIA
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     SUMMARY NOTICE – CASE NOS. C06-04327-JW (PVT) AND C08-0246-JW (PVT)
                                                                              {1964 / MISC / 00100746.DOC v4}3

     {1964 / MISC / 00100746.DOC v3}
